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                                                                                      KEURIG DR PEPPER INC. and
                                                                                    8 DR PEPPER/SEVEN UP INC
                                                                                    9
                                                                                   10                       UNITED STATES DISTRICT COURT
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                   12
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                                                                                   13 JOHN TRUJILLO, individually and on          Case No. 2:22-cv-05103
                                                                                      behalf of all others similarly situated;
                                                                                   14                                             [Superior Court of California, Los
                                                                                                   Plaintiffs,                    Angeles Case No. 22STCV16589]
                                                                                   15
                                                                                            vs.
                                                                                   16                                             DEFENDANTS MOTTS LLP,
                                                                                      MOTTS LLP, a Delaware limited liability     KEURIG DR PEPPER INC., AND
                                                                                   17 company; KEURIG DR PEPPER INC., a           DR PEPPER/SEVEN UP INC.’S
                                                                                      Delaware Corporation; DR PEPPER/SEVEN       NOTICE OF REMOVAL OF CIVIL
                                                                                   18 UP INC., a Delaware corporation; and DOES   ACTION TO FEDERAL COURT
                                                                                      1 To 50;                                    PURSUANT TO 28 U.S.C. 1332,
                                                                                   19                                             1367, 1441, AND 1446
                                                                                                    Defendants,
                                                                                   20
                                                                                                                                   Complaint Filed: May 19, 2021
                                                                                   21                                              Trial Date:      None
                                                                                   22
                                                                                   23
                                                                                   24
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                                                                                        Case No.:                             -1-        NOTICE OF REMOVAL OF CIVIL
                                                                                        JOHN TRUJILLO v. MOTTS, LLP, et al.                                 ACTION
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                                                                                    1        TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO PLAINTIFF
                                                                                    2 JOHN TRUJILLO AND HIS ATTORNEYS OF RECORD:
                                                                                    3        PLEASE TAKE NOTICE that Defendants Motts LLP (“Motts”), Keurig Dr
                                                                                    4 Pepper Inc. (“KDP”), and Dr Pepper/Seven Up Inc. (“DPSU”) (hereinafter collectively
                                                                                    5 referred to as “Defendants”) hereby remove this action from the Superior Court of the
                                                                                    6 State of California for the County of Los Angeles to the United States District Court for
                                                                                    7 the Southern District of California. Defendants remove this action pursuant to 28
                                                                                    8 U.S.C. §§ 1332(d) (the Class Action Fairness Act of 2005), 1441, and 1446 on the
                                                                                    9 following grounds:
                                                                                   10                          STATEMENT OF JURISDICTION
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                                                                                   11        1.     This Court has jurisdiction over this action under the Class Action Fairness
                                                                                   12 Act of 2005 (“CAFA”), which amended 28 U.S.C. § 1332 to provide that a putative
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                                                                                   13 class action is removable to federal court if the proposed class consists of at least 100;
                                                                                   14 the amount in controversy exceeds $5,000,000, exclusive of interest and costs; and one
                                                                                   15 member of the proposed class is a citizen of a state different from any defendant. See
                                                                                   16 28 U.S.C. § 1332(d). The Act authorizes removal of such actions pursuant to 28 U.S.C.
                                                                                   17 § 1446. As demonstrated below, this action meets all of CAFA’s removal requirements
                                                                                   18 and is timely and properly removed by the filing of this Notice.
                                                                                   19                       PLEADINGS, PROCESS AND ORDERS
                                                                                   20        2.     On or about May 19, 2022, Plaintiff John Trujillo (“Plaintiff”) filed a
                                                                                   21 Complaint in the Superior Court of the State of California in and for the County of Los
                                                                                   22 Angeles, entitled John Trujillo, individually and on behalf of all others similarly
                                                                                   23 situated v. Motts LLP, a Delaware limited liability company; Keurig Dr Pepper Inc., a
                                                                                   24 Delaware Corporation; Dr Pepper/Seven Up Inc., a Delaware corporation, and Does
                                                                                   25 1 to 50, Case No. 22STCV16589 (hereinafter the “Complaint” in the “State Court
                                                                                   26 Action”).
                                                                                   27        3.     The Complaint is a purported class action alleging the following causes of
                                                                                   28 action: (1) Unfair Competition (Bus. & Prof. Code §§ 17200 et seq.); (2) failure to pay
                                                                                        Case No.:                                    -2-      NOTICE OF REMOVAL OF CIVIL
                                                                                        JOHN TRUJILLO v. MOTTS, LLP, et al.                                      ACTION
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                                                                                    1 minimum wages (Lab. Code §§ 1194, 1194.2, 1197, 1197.1); (3) failure to pay overtime
                                                                                    2 compensation (Lab. Code §§ 510, 1194, 1194 et seq.); (4) failure to provide accurate
                                                                                    3 itemized wage statements (Lab Code §§ 226); (5) failure to pay timely wages (Lab.
                                                                                    4 Code §§ 204 and 210); and (6) Private Attorneys General Act (Lab. Code 2698 et seq.).1
                                                                                    5            4.    A copy of the Summons and Complaint was served at C T Corporation
                                                                                    6 System, on each of Defendants’ California registered corporate agent for service of
                                                                                    7 process, on June 24, 2022. Declaration of Janet Barrett (“Barrett Decl.”) ¶ 3; Proof of
                                                                                    8 Service, attached hereto as Exhibits 1, 2 and 3. True and correct copies of the Summons
                                                                                    9 and Complaint are attached hereto, collectively, as Exhibit 4 and incorporated herein by
                                                                                   10 reference as if set forth in full.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11            5.    Defendants KDP and DPSU filed an Answer to Plaintiff’s Complaint on
                                                                                   12 July 21, 2022 and a First Amended Answer on July 22, 2022. Defendant Motts filed an
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                                                                                   13 Answer to Plaintiff’s Complaint on July 22, 2022.           True and correct copies of
                                                                                   14 Defendants’ Answers are attached hereto as Exhibits 5, 6, and 7 and incorporated herein
                                                                                   15 by reference as if set forth in full.
                                                                                   16            6.    To Defendants’ knowledge, as of the date of this Notice of Removal, no
                                                                                   17 other parties have been named and Motts has not been served with a copy of the
                                                                                   18 Summons and Complaint. Does 1-50 are presently unnamed and unknown and,
                                                                                   19 therefore, have not been served with the Complaint. Complaint (“Compl.”), ¶ 3.
                                                                                   20            7.    An Initial Status Conference in the State Court Action is scheduled for
                                                                                   21 September 26, 2022. There are no additional hearings or other proceedings in the State
                                                                                   22 Court Action, and Defendants have not received or filed any papers or pleadings in the
                                                                                   23 State Court Action other than those attached hereto as Exhibits 1-7.
                                                                                   24
                                                                                   25
                                                                                   26
                                                                                        1
                                                                                   27   Plaintiff also alleges a seventh cause of action and eighth cause of action as an
                                                                                      individual claim for failure to provide employment records under Lab. Code §§ 226(b)
                                                                                   28 and 1198.5.
                                                                                            Case No.:                                -3-      NOTICE OF REMOVAL OF CIVIL
                                                                                            JOHN TRUJILLO v. MOTTS, LLP, et al.                                  ACTION
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                                                                                    1     JURISDICTION PURSUANT TO THE CLASS ACTION FAIRNESS ACT
                                                                                    2        8.    Section 4 of CAFA sets forth the general rule that “[t]he district courts
                                                                                    3 shall have original jurisdiction of any civil action in which the matter in controversy
                                                                                    4 exceeds the sum or value of $5,000,000, exclusive of interest and costs, and is a class
                                                                                    5 action in which …any member of a class of plaintiffs is a citizen of a State different
                                                                                    6 from any defendant.” 28 U.S.C. § 1332(d)(2).
                                                                                    7        9.    Section 4 of CAFA further states that the jurisdictional rule set forth in 28
                                                                                    8 U.S.C. § 1332(d)(2) applies only to class action in which the number of members of all
                                                                                    9 proposed plaintiff classes, in the aggregate, is 100 or more. 28 U.S.C. § 1332(d)(5).
                                                                                   10        10.   This Court has jurisdiction pursuant to CAFA, 28 U.S.C. § 1332(d), and
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 this action may be removed by Defendants pursuant to the provisions of 28 U.S.C.
                                                                                   12 § 1441(a), because the proposed plaintiff class consists of at least 100 members, the
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                                                                                   13 total amount in controversy exceeds $5,000,000, and there is diversity between at least
                                                                                   14 one proposed class member and one defendant.
                                                                                   15        11.   Venue lies in the United States District Court for the Central District of
                                                                                   16 California, pursuant to 28 U.S.C. § 84(b), 1441, and 1446(a). The State Court Action
                                                                                   17 was originally brought in the Los Angeles County Superior Court, which is located
                                                                                   18 within the Central District of California. Venue is proper with this Court because it is
                                                                                   19 the “district and division embracing the place where such action is pending.” 28 U.S.C.
                                                                                   20 § 1441(a).
                                                                                   21        12.   Defendants are the only defendants that have been named and served in
                                                                                   22 this matter. Therefore, all defendants that have been named and served join in the
                                                                                   23 removal.
                                                                                   24        13.   Plaintiff brought this action “on behalf of himself and all others similarly
                                                                                   25 situated, providing non-exempt services for Defendants in California,” as a class action
                                                                                   26 pursuant to California Code of Civil Procedure § 382, a state statute authorizing an
                                                                                   27 action to be brought by one or more representative persons as a class action. Compl.,
                                                                                   28 ¶¶ 13-14. Plaintiff seeks to represent “[a]ll of Defendants’ hourly employees in
                                                                                        Case No.:                                   -4-      NOTICE OF REMOVAL OF CIVIL
                                                                                        JOHN TRUJILLO v. MOTTS, LLP, et al.                                     ACTION
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                                                                                    1 California during the period from four years prior to the filing of this lawsuit to present”
                                                                                    2 (the “Putative Class Members”). Id., ¶ 13.
                                                                                    3                 The Purported Class Contains At Least 100 Members
                                                                                    4        14.    In the Complaint, Plaintiff alleges that the Putative Class Members “are so
                                                                                    5 numerous that joinder of all members…is impracticable” and “[t]he number of Class
                                                                                    6 Members is great…” Compl., ¶ 17.
                                                                                    7        15.    Plaintiff was employed by Motts, whose ultimate parent is KDP.
                                                                                    8 Declaration of Karina De La Cruz (“De La Cruz Decl.”), ¶ 3; Barrett Decl., ¶ 6. The
                                                                                    9 aggregate number of hourly non-exempt employees employed by Motts between May
                                                                                   10 19, 2018 and July 8, 2022 is at least 517. De La Cruz Decl., ¶ 3a. Therefore, there are
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 over 100 Putative Class Members.
                                                                                   12                        There Is Diversity Of Citizenship Between
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                                                                                   13              At Least One Proposed Class Member And One Defendant
                                                                                   14        16.    CAFA’s minimal diversity requirement is satisfied when “any member of
                                                                                   15 a class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C §§
                                                                                   16 1332(d)(2)(A); 1453(b). Complete diversity of citizenship exists here because Plaintiff
                                                                                   17 and Defendants are citizens of different states, since Plaintiff is a citizen of California,
                                                                                   18 while DPSU is a citizen of Delaware and Texas, KDP is a citizen of Delaware, Texas,
                                                                                   19 and Massachusetts, and Motts is a citizen of Delaware and Texas. Barrett Decl., ¶¶ 4-5
                                                                                   20 and 7-12. Indeed, Plaintiff arguably concedes that there is complete diversity in this
                                                                                   21 action. Compl., ¶¶ 1-2.
                                                                                   22        17.    Plaintiff’s Citizenship. For diversity purposes, a person is a “citizen” of
                                                                                   23 the state in which they are domiciled. See Kantor v. Wellesley Galleries, Ltd., 704 F.2d
                                                                                   24 1088 (9th Cir. 1983). A person’s domicile is the place he or she resides with the
                                                                                   25 intention to remain, or to which he or she intends to return. See Kanter v. Warner-
                                                                                   26 Lambert Clew & Moss, 797 F.2d 747, 749-750 (9th Cir. 1986).
                                                                                   27        18.    According to the Complaint, at the time this action was commenced and at
                                                                                   28 the time of removal, Plaintiff was a resident of California and worked for Defendants
                                                                                        Case No.:                                     -5-      NOTICE OF REMOVAL OF CIVIL
                                                                                        JOHN TRUJILLO v. MOTTS, LLP, et al.                                       ACTION
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                                                                                    1 in Victorville, California. Compl., ¶ 1. The allegations by Plaintiff establish that he is
                                                                                    2 a citizen of the State of California. See Lew v. Moss, 797 F.2d 747, 751 (9th Cir. 1986)
                                                                                    3 (allegations of residency in a state court complaint can create a rebuttable presumption
                                                                                    4 of domicile supporting diversity of citizenship); see also State Farm Mut. Auto. Ins. Co.
                                                                                    5 v. Dyer, 19 F.3d 514, 519-20 (10th Cir. 1994) (allegation by party in state court
                                                                                    6 complaint of residency “created a presumption of continuing residence in [state] and
                                                                                    7 put the burden of coming forward with contrary evidence on the party seeking to prove
                                                                                    8 otherwise”); see also Smith v. Simmons, No. 1:05-CV-01187-022-GS, 2008 WL
                                                                                    9 744709, at *7 (E.D. Cal. Mar. 18, 2008) (alleged place of residence provides “prima
                                                                                   10 facie” proof of domicile). Accordingly, Plaintiff is a citizen of the State of California
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 for purposes of removal.
                                                                                   12            19.   Defendants’ Citizenship.2 For diversity purposes, a corporation “shall be
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                                                                                   13 deemed to be a citizen of every State and foreign state where it has a principal place of
                                                                                   14 business. 28 U.S.C. § 1332 (c)(1). In Hertz Corp. v. Friend, the United States Supreme
                                                                                   15 Court held that the “nerve center” test is used to determine a corporation’s “principal
                                                                                   16 place of business.” Hertz Corp. v. Friend, 130 S. Ct. 1181, 1192 (2010). To this end,
                                                                                   17 the Court reasoned that a corporation’s “nerve center” is normally located where the
                                                                                   18 corporation maintains its corporate headquarters and where the “corporation’s officers
                                                                                   19 direct, control, and coordinate the cooperation’s activities.” Id.
                                                                                   20            20.   KDP is now, and was at the time this action commenced, a citizen of the
                                                                                   21
                                                                                   22   2
                                                                                          CAFA’s “home state” exception does not apply to this case. The home state
                                                                                   23   exception requires: (1) two-thirds or more of the members of the proposed class in
                                                                                        aggregate to be citizens of the state in which the action is filed; and (2) all the
                                                                                   24   “primary defendants” to be citizens of the state in which the action is filed. 28 U.S.C.
                                                                                   25   § 1332(d)(4)(B); Harrington v. Mattel, Inc., 2007 WL 4556920, *5 (N.D. Cal. Cal.
                                                                                        Dec. 20, 2007). Here, Defendants are not citizens of California and thus the “home
                                                                                   26   state” exception does not apply. Similarly, CAFA’s “local controversy” exception is
                                                                                   27   not applicable because none of the Defendants are citizens of California and thus all
                                                                                        requirements per 28 U.S.C. § 1332(d)(4) cannot be met. Therefore, 28 U.S.C. §
                                                                                   28   1332(d)(5)(A) is also not applicable.
                                                                                            Case No.:                                 -6-      NOTICE OF REMOVAL OF CIVIL
                                                                                            JOHN TRUJILLO v. MOTTS, LLP, et al.                                   ACTION
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                                                                                    1 states of Delaware, Texas and Massachusetts.             Barrett Decl., ¶ 4-5.    KDP is a
                                                                                    2 corporation organized and existing under the laws of Delaware with its headquarters
                                                                                    3 and principal places of business in Texas and Massachusetts. Id. KDP’s principal place
                                                                                    4 of business is indisputably Texas and/or Massachusetts based upon the following
                                                                                    5 factors:3 (1) this is where its officers direct, control and coordinate the company’s
                                                                                    6 business activities on a day-to-day basis; (2) the day-to-day management of KDP’s
                                                                                    7 business is conducted in Massachusetts and Texas; (3) certain corporate-wide functions,
                                                                                    8 such as legal, finance, accounting, marketing, and human resources, are directed and
                                                                                    9 coordinated out of Massachusetts and Texas; and (4) the company’s corporate and
                                                                                   10 financial records are maintained in Massachusetts and Texas. Id. at ¶ 5.
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                                                                                   11            21.   DPSU is now, and was at the time this action was commenced, a citizen of
                                                                                   12 the states of Delaware and Texas. Barrett Decl., ¶ 11-12. DPSU is a corporation
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                                                                                   13 organized and existing under the laws of Delaware with its headquarters and principal
                                                                                   14 place of business in Texas. Id. DPSU’s principal place of business is indisputably
                                                                                   15 Texas based upon the following factors: (1) it is where its officers direct, control and
                                                                                   16 coordinate the company’s business activities on a day-to-day basis; (2) the day-to-day
                                                                                   17 management of DPSU’s business is conducted in Texas; (3) certain corporate-wide
                                                                                   18 functions, such as legal, finance, accounting, marketing, and human resources, are
                                                                                   19 directed and coordinated out of Texas; and (4) the company’s corporate and financial
                                                                                   20 records are maintained in Texas. Id. at ¶ 12.
                                                                                   21            22.   Motts is a citizen of the states of Delaware and Texas. Barrett Decl., ¶¶ 7-
                                                                                   22 10. The citizenship of a partnership is based on the citizenship of each member of the
                                                                                   23 partnership. Carden v. Arkoma Assocs., 494 U.S. 185, 195 (1990). Motts has two
                                                                                   24 partners, Nantucket Allserve LLC and Snapple Beverage Corp. Barrett Decl., ¶ 7. The
                                                                                   25
                                                                                   26   3
                                                                                       These factors have previously been considered by courts in determining a
                                                                                   27 corporation’s “nerve center.” See, e.g., Inger v. Del E. Webb Corp., 233 F. Supp. 713,
                                                                                      716 (N.D. Cal. 1964); see also, State Farm Fire & Cas. Co. v. Byrd, 710 F. Supp.
                                                                                   28 1292, 1293 (N.D. Cal. 1989).
                                                                                            Case No.:                                  -7-       NOTICE OF REMOVAL OF CIVIL
                                                                                            JOHN TRUJILLO v. MOTTS, LLP, et al.                                     ACTION
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                                                                                    1 citizenship of a limited liability company is determined by examining the citizenship of
                                                                                    2 each member of the company.          D.B. Swirn Special Opportunities Fund, L.P. v.
                                                                                    3 Mehrotra, 661 F.3d 124, 125-126. Nantucket Allserve LLC’s sole member is Snapple
                                                                                    4 Beverage Corp. Barrett Decl., ¶ 8. Snapple Beverage Corp. is a citizen of the states
                                                                                    5 of Delaware and Texas. It was incorporated in Delaware and its principal place of
                                                                                    6 business is in Texas. Id. at ¶¶ 9-10.
                                                                                    7        23.    Doe Defendants. Plaintiff has also named as Defendants Does 1 through
                                                                                    8 50. For purposes of removal based on diversity, “the citizenship of Defendants sued
                                                                                    9 under fictitious names shall be disregarded.” 28 U.S.C. § 1441(b); see Fristoe v.
                                                                                   10 Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed Defendants are
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 not required to join in a removal petition); see also Soliman v. Philip Morris, Inc., 311
                                                                                   12 F.3d 966, 971 (9th Cir. 2002) (same). The existence of the alleged Doe Defendants thus
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                                                                                   13 does not impact this Court’s removal jurisdiction. Albrego v. Dow Chemical Co., 443
                                                                                   14 F.3d 676, 679-80 (9th Cir. 2006) (rule applied to CAFA removal).
                                                                                   15                  Alleged Amount In Controversy Exceeds $5,000,000
                                                                                   16        24.    Under CAFA, the articulated claims of all class members are aggregated
                                                                                   17 to determine if the amount in controversy exceeds $5,000,000. 28 U.S.C. § 1332(d)(6).
                                                                                   18 Significantly, Congress intended federal jurisdiction to exist under CAFA “if the value
                                                                                   19 of the matter in litigation exceeds $5,000,000 either from the viewpoint of the plaintiff
                                                                                   20 or the viewpoint of the defendant, and regardless of the type of relief sought (e.g.,
                                                                                   21 damages, injunctive relief, or declaratory relief).” Staff of S. Comm. on the Judiciary,
                                                                                   22 109th Cong., Rep. on The Class Action Fairness Act of 2005, 42 (Comm. Print 2005).
                                                                                   23 The Senate Judiciary Committee’s Report on the final version of CAFA also makes
                                                                                   24 clear that any doubts regarding the maintenance of interstate class actions in state or
                                                                                   25 federal court should be resolved in favor of federal jurisdiction. Id. at 43 (“Overall, new
                                                                                   26 section 1332(d) is intended to expand substantially federal court jurisdiction over class
                                                                                   27 actions. Its provisions should be read broadly, with a strong preference that interstate
                                                                                   28 class actions should be heard in a federal court if properly removed by any defendant.”).
                                                                                        Case No.:                                    -8-       NOTICE OF REMOVAL OF CIVIL
                                                                                        JOHN TRUJILLO v. MOTTS, LLP, et al.                                       ACTION
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                                                                                    1            25.   When determining the amount that a plaintiff has placed in controversy, a
                                                                                    2 court must “assume that the allegations of the complaint are true and assume that a jury
                                                                                    3 will return a verdict for the plaintiff on all claims made in the complaint.” Kenneth
                                                                                    4 Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal.
                                                                                    5 2002) (internal citations and alterations omitted). A district court may consider the
                                                                                    6 allegations of the complaint and the contents of the removal petition and any supporting
                                                                                    7 evidence in determining whether the jurisdictional amount has been established. See
                                                                                    8 Singer v. State Farm Mutual Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).
                                                                                    9            26.   Defendants deny Plaintiff’s allegations of misconduct and intend to defend
                                                                                   10 themselves vigorously against all of Plaintiff’s causes of action. Nevertheless, and
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                                                                                   11 without admitting that Plaintiff and/or any member of the putative class can recover any
                                                                                   12 damages, when one considers the number of alleged Putative Class Members, the
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                                                                                   13 number of alleged violations of California law, the statute of limitations period
                                                                                   14 embraced by the claims, and the class definition alleged in the State Court Action, the
                                                                                   15 aggregate amount in controversy presented by the case exceeds $5,000,000 for purposes
                                                                                   16 of removal based on the following:
                                                                                   17            27.   For purposes of determining the aggregate amount in controversy4 for this
                                                                                   18 motion, the putative class includes 517 Putative Class Members working for Motts in
                                                                                   19 California between May 19, 2018 and July 8, 2022. De La Cruz Decl., ¶ 3a.
                                                                                   20            28.   The below calculations are conservatively based on the lowest applicable
                                                                                   21 minimum wage in California during the relevant time period from May 19, 2018
                                                                                   22
                                                                                   23
                                                                                        4
                                                                                          The United States Supreme Court has held that “a defendant’s notice of removal need
                                                                                        include only a plausible allegation that the amount in controversy exceeds the
                                                                                   24   jurisdictional threshold. Evidence establishing the amount is required by 1446(c)(2)
                                                                                   25   (B) only when the plaintiff contests, or the court questions, the defendant’s allegation.”
                                                                                        Dart Cherokee Basin Operating Co. v. Owens, 135 S.Ct. 547, 554 (2014). Although
                                                                                   26   they were not required to do so, Defendants have established that the amount in
                                                                                   27   controversy by referencing Plaintiff’s allegations and/or by setting forth information in
                                                                                        the notice of removal that demonstrate that the amount in controversy is more likely
                                                                                   28   than not to exceed the jurisdictional minimum.
                                                                                            Case No.:                                  -9-      NOTICE OF REMOVAL OF CIVIL
                                                                                            JOHN TRUJILLO v. MOTTS, LLP, et al.                                    ACTION
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                                                                                     1 through present, of $11.00.5 In addition, the Putative Class Members were employed
                                                                                     2 during approximately 56,877 workweeks between May 19, 2018 and July 22, 2022. De
                                                                                     3 La Cruz Decl., ¶ 3d.
                                                                                     4            29.   Unpaid Minimum Wages Claim. The Complaint alleges that Plaintiff
                                                                                     5 and the putative class ware entitled to unpaid wages because “…Defendants failed to
                                                                                     6 pay Plaintiff and Class Members minimum wages for work they performed…” and
                                                                                     7 “…Plaintiff and the other members of the Class worked many hours without proper
                                                                                     8 compensation for work they performed.” Compl., ¶ 30. Plaintiff further asserts that
                                                                                     9 Defendants “failed to main[tain] proper payroll accounting procedures, resulting in
                                                                                    10 continuous systematic underpayment of wages…” Id. at ¶ 10.              Based on these
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 allegations, Plaintiff contends that he and the Putative Class Members are entitled to
                                                                                    12 “recovery of the unpaid balance of the full amount of their unpaid minimum wages,
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                                                                                    13 including interest thereon, reasonable attorneys’ fees and costs of suit” and “liquidated
                                                                                    14 damages.” Compl., ¶¶ 31-32. California law currently applies a four year statute of
                                                                                    15 limitation to unfair competition claims based on alleged unpaid wage violations. See
                                                                                    16 Cal. Bus. & Prof. Code § 17208.
                                                                                    17            30.   Total Potential Unpaid Wages.       Based upon Plaintiff’s allegations,
                                                                                    18 Defendants estimate that Plaintiff is putting 3 (three) hours of unpaid wages per
                                                                                    19 workweek in controversy, which results in a weekly unpaid wage obligation of $33.00
                                                                                    20 [$11.00 x 3]. There were at least 56,877 weeks attributable to Putative Class Members
                                                                                    21 between May 19, 2018 and July 22, 2022; thus, Defendants’ aggregate unpaid wage
                                                                                    22 obligation under Plaintiff’s alleged theory would be $1,876,941 [$33.00 x 56,877].
                                                                                    23   5
                                                                                        For purposes of calculating potential minimum wage damages in this Notice of
                                                                                    24 Removal, Defendants conservatively utilized the 2018 California minimum wage of
                                                                                    25 $11.00/hour rather than the current minimum wage rate of $15.00/hour. Note,
                                                                                       however, that the lowest current or final hourly rate of pay for any Putative Class
                                                                                    26 Member who was employed at any time from May 19, 2018 and July 8, 2022 was
                                                                                    27 $17.00. De La Cruz Decl., ¶ 3b. Thus, if damages were calculated on the overtime
                                                                                       claim, the amount in controversy would be significantly higher as it would be based
                                                                                    28 upon an overtime rate that is at a minimum $25.50.
                                                                                             Case No.:                               -10-      NOTICE OF REMOVAL OF CIVIL
                                                                                             JOHN TRUJILLO v. MOTTS, LLP, et al.                                  ACTION
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 11 of 81 Page ID #:11




                                                                                     1        31.     Under California Labor Code section 1197.1, an employer who fails to pay
                                                                                     2 the minimum wage owes the employee: (1) the unpaid minimum wage; and (2)
                                                                                     3 liquidated damages in the same amount as the unpaid wage. Based on the above
                                                                                     4 calculations, the alleged amount in controversy with respect to Plaintiff’s unpaid
                                                                                     5 minimum wage claim is $3,753,882, based on: (1) $1,876,941 in unpaid minimum wage
                                                                                     6 [$33.00 x 56,877 weeks]; and (2) $1,876,941 in liquidated damages [$33.00 x 56,877
                                                                                     7 weeks].
                                                                                     8        32.      Wage Statement Violations Claim. Plaintiff also seeks penalties under
                                                                                     9 California Labor Code section 226. Under Labor Code section 226(e), the penalty for
                                                                                    10 an alleged failure to provide accurate itemized wage statements is “fifty dollars ($50)
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 for the initial pay period in which a violation occurs, and one hundred dollars ($100)
                                                                                    12 per employee for each violation in a subsequent pay period, not to exceed an aggregate
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                                                                                    13 penalty of four thousand dollars ($4,000)” per employee. A one year statute of
                                                                                    14 limitations applies to a violation of Section 226. See Cal. Civ. Proc. Code § 340.
                                                                                    15 Plaintiff filed his Complaint on May 19, 2022. Therefore, the statutory period for a
                                                                                    16 claim under California Labor Code section 226 runs from May 19, 2021 to the present.
                                                                                    17        33.     As set forth in the Complaint, Plaintiff alleges that Defendants “failed to
                                                                                    18 timely provide Plaintiff and the other members of the Class with wage statements
                                                                                    19 confirming to the requirements of section 226(a) of the California Labor Code”.
                                                                                    20 Compl., ¶ 36. Plaintiff further asserts that “[t]he failure to identify required data caused
                                                                                    21 Plaintiff and other members of the putative class injury” and contends that he and the
                                                                                    22 Putative Class Members are “entitled to damages in the amount of at least $50, or
                                                                                    23 damages in an amount according to proof and costs and reasonable attorney’s fees”,
                                                                                    24 which Defendants deny that Plaintiff or any Putative Class Member is entitled to. Id.
                                                                                    25 at ¶¶ 37-38.
                                                                                    26        34.      Total Potential Liability for Wage Statement Claim. From May 19, 2021
                                                                                    27 to approximately July 22, 2022, 432 non-exempt California employees of Motts were
                                                                                    28 employed and received weekly wage statements. De La Cruz Decl., ¶¶ 3c, e, and f.
                                                                                         Case No.:                                    -11-      NOTICE OF REMOVAL OF CIVIL
                                                                                         JOHN TRUJILLO v. MOTTS, LLP, et al.                                       ACTION
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 12 of 81 Page ID #:12




                                                                                     1 Approximately 322 Putative Class Members received 41 or more weekly wage
                                                                                     2 statements and the remaining 110 Putative Class Members received 1 or weekly wage
                                                                                     3 statements. Thus, based on the allegations in the Complaint, the 322 Putative Class
                                                                                     4 Members that received 41 or more weekly wage statements would receive the maximum
                                                                                     5 penalties that are capped at $4,000 [$50 initial violation rate + ($100 subsequent
                                                                                     6 violation rate * 40 pay periods)]. 6 For the remaining 110 Putative Class Members that
                                                                                     7 received 1 or more weekly wage statements, Defendants conservatively estimate 1 wage
                                                                                     8 statement violation calculated at the initial violation rate. Based thereon, although
                                                                                     9 Defendants deny that Plaintiff or any Putative Class Member is entitled to penalties, the
                                                                                    10 class allegations seeking penalties under California Labor Code Section 226 yields an
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                                                                                    11 estimated aggregate penalties of $1,293,500 [($4,000 x 322) + ($50 x 110)] in
                                                                                    12 controversy.
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                                                                                    13          Total Aggregate Minimum Potential Liabilities and Additional Potential
                                                                                    14                Recoveries Based on the Allegations in Plaintiff’s Complaint.
                                                                                    15                               AMOUNT IN CONTROVERSY
                                                                                    16                      Basis for Claim                          Amount
                                                                                    17         Unpaid Minimum Wages                                 $1,876,941
                                                                                    18         Liquidated Damages                                   $1,876,941
                                                                                    19   6
                                                                                         Defendants do not concede Plaintiff and the Putative Class Members are entitled to
                                                                                    20 recovery under Section 226 and do not agree that the initial and subsequent violation
                                                                                    21 rates apply. Rather, Defendants believe that if Plaintiff is permitted to recover under
                                                                                       Section 226, his recovery must be limited to the “initial violation” amount – i.e., $50
                                                                                    22 per pay period pursuant to Section 226(e). See e.g., Amaral v. Cintas Corp. No. 2,
                                                                                    23 163 Cal. App. 4th 1157, 1209 (2008). Plaintiff, however, appears to contend that the
                                                                                       subsequent violation rate of $100 per pay period applies after the first pay period
                                                                                    24 where there is a violation. Thus, for purposes of removal only, Defendants are
                                                                                    25 justified in using the initial/subsequent violation rates and a 100% violation rate in
                                                                                       computing the amount in controversy on Plaintiff’s wage statement claim based on the
                                                                                    26 allegations in the Complaint. See, Ritenour v. Carrington Mortg. Servs. LLC, 2017
                                                                                    27 U.S. Dist. LEXIS 1747, *9 (C.D. Cal. Jan. 5, 2017 (regarding wage statement claims,
                                                                                       “[g]iven the vague language and the broad definition of the class, it is reasonable for
                                                                                    28 Defendants to assume a 100% violation rate…”).
                                                                                             Case No.:                               -12-     NOTICE OF REMOVAL OF CIVIL
                                                                                             JOHN TRUJILLO v. MOTTS, LLP, et al.                                 ACTION
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 13 of 81 Page ID #:13




                                                                                     1
                                                                                               Wage Statement Penalties                              $1,293,500
                                                                                     2
                                                                                               TOTAL                                                 $5,047,382
                                                                                     3
                                                                                                  35.   Other Damages. Though the jurisdictional minimum amount in
                                                                                     4
                                                                                         controversy is met and easily surpassed by estimates of the afore-referenced minimum
                                                                                     5
                                                                                         wage and wage statement claims, Plaintiff’s remaining claims bolster Defendants’
                                                                                     6
                                                                                         position that the amount in controversy exceeds $5,000,000. Plaintiff is seeking
                                                                                     7
                                                                                         overtime wages, penalties under Labor Code Section 210,7 civil and statutory penalties,
                                                                                     8
                                                                                         attorneys’ fees and costs. Compl., Prayer for Relief. These additional items could
                                                                                     9
                                                                                         increase the amount in controversy significantly. For example, Plaintiff’s potential
                                                                                    10
                                                                                         recovery on his overtime claim would be significantly larger than the calculations set
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                                                                                    11
                                                                                         forth above with respect to the unpaid minimum wages claim. 8 Moreover, Plaintiff’s
                                                                                    12
                                                                                         potential recovery on his claim for failure to timely pay wages in violation of Labor
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                                                                                    13
                                                                                         Code section 210 yields an estimated $2,619,200 in penalties.9 In addition, attorneys’
                                                                                    14
                                                                                         7
                                                                                    15     Here, Plaintiff seeks penalties pursuant to Labor Code section 210 which provides
                                                                                         recovery for failure to timely pay wages under Labor Code section 204. Defendants
                                                                                    16   deny that Plaintiff is entitled to recovery on his failure to timely pay wages claim
                                                                                    17   because it is improperly derivative of his other unpaid wage claims and Labor Code
                                                                                         section 210 does not provide for a private right of action under Section 204.
                                                                                    18   8
                                                                                           This is because the overtime rate would be 1.5 times the employee’s regular rate of
                                                                                    19   pay.
                                                                                         9
                                                                                           Like Plaintiff’s wage statement claim, his claim for penalties under Labor Code
                                                                                    20   Section 210 is also subject to a one-year statute of limitations. California Labor Code
                                                                                    21   section 210 provides penalties of one hundred dollars ($100) for any initial violation
                                                                                         and two hundred dollars ($200) for each subsequent violation, for each failure to pay
                                                                                    22   each employee. Defendants deny that the penalty for subsequent violations is
                                                                                    23   warranted or applicable here. See, Amaral v. Cintas Corp. No. 2, 163 Cal. App. 4th at
                                                                                         1209. For purposes of removal only, Defendants calculated the amount in controversy
                                                                                    24   for Plaintiff’s Labor Code section 210 claim utilizing the initial and subsequent
                                                                                    25   violation rates. Approximately 322 Putative Class Members received 41 or more
                                                                                         weekly wage statements and the remaining 110 Putative Class Members received 1 or
                                                                                    26   weekly wage statements. Thus, based on the allegations in the Complaint, the 322
                                                                                    27   Putative Class Members that received 41 or more weekly wage statements would
                                                                                         recover a minimum of $8,100 in penalties [$100 initial violation rate + ($200
                                                                                    28   subsequent violation rate * 40 pay periods)]. De La Cruz Decl., ¶ 3f. For the
                                                                                             Case No.:                               -13-      NOTICE OF REMOVAL OF CIVIL
                                                                                             JOHN TRUJILLO v. MOTTS, LLP, et al.                                  ACTION
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                                                                                     1 fee awards can properly be included in calculating the amount in controversy, and such
                                                                                     2 awards are commonly in the 25% to 33% range of an award to the class. See Galt G/S
                                                                                     3 v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (holding that attorneys’ fees
                                                                                     4 may be included when calculating the amount in controversy). Notwithstanding the
                                                                                     5 exclusion of the potential liabilities of Plaintiff’s remaining claims, Defendants have
                                                                                     6 clearly demonstrated that the potential amount put in controversy by Plaintiff in his
                                                                                     7 Complaint exceeds the $5,000,000 jurisdictional minimum under CAFA.10 Indeed if
                                                                                     8 you add the 210 penalties and attorneys’ fees the total amount in controversy is in excess
                                                                                     9 of $9,000,000.
                                                                                    10        36.    In sum, through Defendants’ own investigation and calculations as set
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                                                                                    11 forth herein, a preponderance of the evidence supports removal of this matter because
                                                                                    12 CAFA jurisdiction has been established, even based on conservative calculations.
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                                                                                    13 Therefore, removal of this matter is appropriate.
                                                                                    14                          SUPPLEMENTAL JURISDICTION
                                                                                    15        37.    This Court has supplemental jurisdiction over Plaintiff’s remaining
                                                                                    16 individual causes of action for failure to provide employment records under Sections
                                                                                    17 226(b) and 1198.5 and for penalties pursuant to the Private Attorney General Act,
                                                                                    18 California Labor Code § 2698 et seq. (“PAGA”), because those causes of action share
                                                                                    19 a common nucleus of operative facts with Plaintiff’s other causes of action. See 28
                                                                                    20 U.S.C. 1367(a) and 1441(c); Compl., at ¶¶ 43-50. Plaintiff’s individual claims for
                                                                                    21 failure to provide records arise out of his employment with Motts and Plaintiff’s PAGA
                                                                                    22
                                                                                    23 remaining 110 Putative Class Members that received 1 or more weekly wage
                                                                                       statements, Defendants conservatively estimate 1 violation calculated at the initial
                                                                                    24 violation rate. Id. Based thereon, although Defendants deny that Plaintiff or any
                                                                                    25 Putative Class Member is entitled to penalties, the class allegations seeking penalties
                                                                                       under California Labor Code Section 210 yields an estimated $2,619,200 [($8,100 x
                                                                                    26 322) + ($100 x 110)] over the jurisdictional minimum amount in controversy.
                                                                                       10
                                                                                    27    Again, Defendants provide these calculations solely to establish that the amount in
                                                                                       controversy exceeds the jurisdictional minimum. Defendants make no admission of
                                                                                    28 liability and deny Plaintiff’s right to recover with respect to any aspect of this case.
                                                                                         Case No.:                                   -14-      NOTICE OF REMOVAL OF CIVIL
                                                                                         JOHN TRUJILLO v. MOTTS, LLP, et al.                                      ACTION
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                                                                                     1 claim rises and falls with the underlying California Labor Code claims.          See, e.g.,
                                                                                     2 Zackaria v. Wal-Mart Stores, Inc., 142 F. Supp. 3d 949, 958 (C.D. Cal. 2015) (“A
                                                                                     3 plaintiff pursuing a representative PAGA action must prove the alleged underlying
                                                                                     4 Labor Code violations (i) first, as to him or herself, and (ii) second, as to all…aggrieved
                                                                                     5 employees for which a penalty also is sought.”); Sanders v. Old Dominion Freight Line,
                                                                                     6 Inc., 2018 WL6321628, at *4 (C.D. Cal. June 25, 2018) (“Plaintiffs’ PAGA claim rises
                                                                                     7 or falls with their other claims”); and Price v. Starbucks Corp., 192 Cal.App.4th 1136,
                                                                                     8 1147 (2011). Accordingly, this Court has jurisdiction over the entire Complaint and
                                                                                     9 removal is proper.
                                                                                    10                             TIMELINESS OF REMOVAL
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                                                                                    11        38.    Pursuant to 28 U.S.C. § 1446(b), this removal is timely because
                                                                                    12 Defendants are filing this removal within thirty (30) days following service of
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                                                                                    13 Defendants’ receipt of the Summons and Complaint on June 24, 2022.
                                                                                    14                                NOTICE TO PLAINTIFF
                                                                                    15        39.    In accordance with 28 U.S.C. § 1446(d), the undersigned counsel certifies
                                                                                    16 that a copy of this Notice of Removal and all supporting papers will be promptly served
                                                                                    17 on Plaintiff’s counsel and filed with the Clerk of the Superior Court of the State of
                                                                                    18 California in and for the County of Los Angeles.
                                                                                    19
                                                                                    20
                                                                                    21
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                                                                                    25
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                                                                                    28
                                                                                         Case No.:                                   -15-      NOTICE OF REMOVAL OF CIVIL
                                                                                         JOHN TRUJILLO v. MOTTS, LLP, et al.                                      ACTION
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 16 of 81 Page ID #:16




                                                                                     1        WHEREFORE, for all of the foregoing reasons, Defendants hereby remove the
                                                                                     2 State Court Action now pending in the Superior Court of the State of California, County
                                                                                     3 of Los Angeles, to the United States District Court for the Central District of California.
                                                                                     4
                                                                                     5                                          Respectfully submitted,
                                                                                     6   Dated:     July 22, 2022                REED SMITH LLP
                                                                                     7
                                                                                                                                 By: /s/
                                                                                     8                                               Mara D. Curtis
                                                                                     9                                               Attorneys for Defendants
                                                                                                                                     MOTTS LLP, KEURIG DR PEPPER
                                                                                    10                                               INC. and DR PEPPER/SEVEN UP
                                                                                                                                     INC.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                    12
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                                                                                         Case No.:                                   -16-      NOTICE OF REMOVAL OF CIVIL
                                                                                         JOHN TRUJILLO v. MOTTS, LLP, et al.                                      ACTION
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                    EXHIBIT 1
                  Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 18 of 81 Page ID #:18
                                                                                                                                                                           POS-010
Electronically FILED by Superior Court of California, County of Los Angeles on 06/29/2022 03:11 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Valenzuela,Deputy Clerk

          ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
          Alan Harris SBN 146079
          HARRIS & RUBLE,
          624 S. ARDEN BLVD.
          LOS ANGELES, CA 90005
          Telephone No.: (323) 962-3777                                          Fax No. (Optional):

          E-MAIL ADDRESS (Optional): harrisa@harrisandruble.com
          ATTORNEY FOR (Name):               Plaintiff

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, - STANLEY MOSK (EFILING)
              STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS: 111 N Hill St
             CITY AND ZIP CODE: Los Angeles, CA 90012
                 BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, -
                                STANLEY MOSK (EFILING)

                  PLAINTIFF/PETITIONER: John Trujillo                                                                                    CASE NUMBER:
                                                                                                                                         22STCV16589
           DEFENDANT/RESPONDENT: MOTTS, LLP

                                                                                                                                         Ref. No. or File No.:
                                               PROOF OF SERVICE SUMMONS                                                                  Keurig Motts


                                                         (Separate proof of service is required for each party served.)

     1.                 At the time of service I was at least 18 years of age and not a party to this action.

     2.         I served copies of: Complaint; Summons; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and Statement of
                                    Location; Notice of Case Assignment Unlimited Civil Case; Alternative Dispute Resolution (ADR)
                                    Information Package; First Amended General Order

     3.         a. Party served (specify name of party as shown on documents served):
                   MOTTS, LLP, a Delaware limited liability company

                b.                Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                  under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                                  Sarai Marin (Gender: Female Age: 23 Height: 5'5" Weight: 145 Race: Hispanic Hair: brown Other: hazel eyes)
                                  CT Corp Intake Specialist

     4.         Address where the party was served: 330 N Brand Blvd Ste 700, Glendale, CA 91203

     5.         I served the party (check proper b ox)
                a.                by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                  service of process for the party (1) on: 6/24/2022 (2) at: 12:37 PM
                b.                by substituted service. On: at: I left the documents listed in item 2 with or in the presence of (name and title or
                                  relationship to person indicated in item 3):

                                  (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                              of the person to be served. I informed him or her of the general nature of the papers.
                                  (2)         (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
                                              place of abode of the party. I informed him or her of the general nature of the papers.
                                  (3)         (physical address unknown) a person of at least 18 years of age apparently in charge at the usual
                                              mailing address of the person to be served, other than a United States Postal Service post office box. I
                                              informed him or her of the general nature of the papers.
                                  (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                              the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents:

                                                                                                                                                                              Page 1 of 2

          POS-010 [Rev. January 1, 2007]                                PROOF OF SERVICE OF SUMMONS
                                                                                                                                                              Invoice # 6079615-01
             Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 19 of 81 Page ID #:19
     PLAINTIFF/PETITIONER:                          John Trujillo                                                       CASE NUMBER:
     DEFENDANT/RESPONDENT:                          MOTTS, LLP                                                          22STCV16589


                                              on:                     from:                          or       a declaration of mailing is attached.

                             (5)              I attach a declaration of diligence stating actions taken first to attempt personal service.


5.         c.                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                             address shown in item 4, by first-class mail, postage prepaid,
                             (1) on:                                                    (2) from:
                             (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                             addressed to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

                             (4)             to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

           d.                by other means (specify means of service and authorizing code section):

                             Additional page describing service is attached.

6.         The "Notice to the Person Served" (on the summons) was completed as follows:
           a.          as an individual defendant.
           b.                as the person sued under the fictitious name of (specify):
           c.                as occupant.
           d.                On behalf of (specify): MOTTS, LLP, a Delaware limited liability company
                             under the following Code of Civil Procedure section:
                                           416.10 (corporation)                                 415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                         416.60 (minor)
                                           416.30 (joint stock                                  416.70 (ward or conservatee)
                                           company/association)
                                           416.40 (association or partnership)                  416.90 (authorized person)
                                           416.50 (public entity)                               415.46 (occupant)
                                                                                                other:
7.         Person who served papers
           a. Name: Sal Dimas
           b. Address: 1000 Corporate Center Drive Suite 110, Monterey Park, CA 91754
           c. Telephone number: 213-628-6338
           d. The fee for service was: $75.00
           e. I am:
               (1)         not a registered California process server.
                  (2)              exempt from registration under Business and Professions Code section 22350(b).
                  (3)              a registered California process server:
                                   (i)              owner              employee               independent contractor.
                                   (ii)    Registration No.: 2014347850
                                   (iii)   County: Los Angeles

8.                I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                       Sal Dimas                     Date: 06/27/2022




POS-010 [Rev. January 1, 2007]                                                                                                                        Page 2 of 2
                                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                                        Invoice #: 6079615-01
Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 20 of 81 Page ID #:20




                    EXHIBIT 2
                  Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 21 of 81 Page ID #:21
Electronically FILED by Superior Court of California, County of Los Angeles on 06/29/2022 03:11 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Valenzuela,Deputy Clerk
                                                                                                                                                                           POS-010
          ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
          Alan Harris SBN 146079
          HARRIS & RUBLE,
          624 S. ARDEN BLVD.
          LOS ANGELES, CA 90005
          Telephone No.: (323) 962-3777                                          Fax No. (Optional):

          E-MAIL ADDRESS (Optional): harrisa@harrisandruble.com
          ATTORNEY FOR (Name):              Plaintiff

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, - STANLEY MOSK (EFILING)
              STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS: 111 N Hill St
             CITY AND ZIP CODE: Los Angeles, CA 90012
                 BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, -
                                STANLEY MOSK (EFILING)

                  PLAINTIFF/PETITIONER: John Trujillo                                                                                    CASE NUMBER:
                                                                                                                                         22STCV16589
           DEFENDANT/RESPONDENT: MOTTS, LLP

                                                                                                                                         Ref. No. or File No.:
                                               PROOF OF SERVICE SUMMONS                                                                  Keurig Motts


                                                        (Separate proof of service is required for each party served.)

     1.                 At the time of service I was at least 18 years of age and not a party to this action.

     2.         I served copies of: Complaint; Summons; Civil Case Cover Sheet; Notice of Case Assignment Unlimited Civil Case;
                                    Alternative Dispute Resolution (ADR) Information Package; First Amended General Order

     3.         a. Party served (specify name of party as shown on documents served):
                   DR. PEPPER / SEVEN UP, INC., a Delaware corporation

                b.                Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                  under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                                  Sarai Marin (Gender: Female Age: 23 Height: 5'5" Weight: 145 Race: Hispanic Hair: brown Other: hazel eyes)
                                  CT Corp Intake Specialist

     4.         Address where the party was served: 330 N Brand Blvd Ste 700, Glendale, CA 91203

     5.         I served the party (check proper b ox)
                a.           by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                             service of process for the party (1) on: 6/24/2022 (2) at: 12:37 PM
                b.           by substituted service. On: at: I left the documents listed in item 2 with or in the presence of (name and title or
                             relationship to person indicated in item 3):

                                  (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                              of the person to be served. I informed him or her of the general nature of the papers.
                                  (2)         (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
                                              place of abode of the party. I informed him or her of the general nature of the papers.
                                  (3)         (physical address unknown) a person of at least 18 years of age apparently in charge at the usual
                                              mailing address of the person to be served, other than a United States Postal Service post office box. I
                                              informed him or her of the general nature of the papers.
                                  (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                              the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents:
                                              on:                       from:                        or        a declaration of mailing is attached.

                                                                                                                                                                              Page 1 of 2

          POS-010 [Rev. January 1, 2007]                                PROOF OF SERVICE OF SUMMONS
                                                                                                                                                              Invoice # 6079615-03
             Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 22 of 81 Page ID #:22
     PLAINTIFF/PETITIONER:                         John Trujillo                                                        CASE NUMBER:
     DEFENDANT/RESPONDENT:                         MOTTS, LLP                                                           22STCV16589




                             (5)              I attach a declaration of diligence stating actions taken first to attempt personal service.


5.         c.                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                             address shown in item 4, by first-class mail, postage prepaid,
                             (1) on:                                                    (2) from:
                             (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                             addressed to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

                             (4)             to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

           d.                by other means (specify means of service and authorizing code section):

                             Additional page describing service is attached.

6.         The "Notice to the Person Served" (on the summons) was completed as follows:
           a.          as an individual defendant.
           b.                as the person sued under the fictitious name of (specify):
           c.                as occupant.
           d.                On behalf of (specify): DR. PEPPER / SEVEN UP, INC., a Delaware corporation
                             under the following Code of Civil Procedure section:
                                           416.10 (corporation)                                 415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                         416.60 (minor)
                                           416.30 (joint stock                                  416.70 (ward or conservatee)
                                           company/association)
                                           416.40 (association or partnership)                  416.90 (authorized person)
                                           416.50 (public entity)                               415.46 (occupant)
                                                                                                other:
7.         Person who served papers
           a. Name: Sal Dimas
           b. Address: 1000 Corporate Center Drive Suite 110, Monterey Park, CA 91754
           c. Telephone number: 213-628-6338
           d. The fee for service was: $45.00
           e. I am:
               (1)         not a registered California process server.
                  (2)              exempt from registration under Business and Professions Code section 22350(b).
                  (3)              a registered California process server:
                                   (i)             owner               employee               independent contractor.
                                   (ii)    Registration No.: 2014347850
                                   (iii)   County: Los Angeles

8.                I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                       Sal Dimas                     Date: 06/27/2022




POS-010 [Rev. January 1, 2007]                                                                                                                       Page 2 of 2
                                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                                        Invoice #: 6079615-03
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                    EXHIBIT 3
                  Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 24 of 81 Page ID #:24
Electronically FILED by Superior Court of California, County of Los Angeles on 06/29/2022 03:11 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Valenzuela,Deputy Clerk
                                                                                                                                                                           POS-010
          ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                           FOR COURT USE ONLY
          Alan Harris SBN 146079
          HARRIS & RUBLE,
          624 S. ARDEN BLVD.
          LOS ANGELES, CA 90005
          Telephone No.: (323) 962-3777                                          Fax No. (Optional):

          E-MAIL ADDRESS (Optional): harrisa@harrisandruble.com
          ATTORNEY FOR (Name):               Plaintiff

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, - STANLEY MOSK (EFILING)
              STREET ADDRESS: 111 N Hill St
              MAILING ADDRESS: 111 N Hill St
             CITY AND ZIP CODE: Los Angeles, CA 90012
                 BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES, -
                                STANLEY MOSK (EFILING)

                  PLAINTIFF/PETITIONER: John Trujillo                                                                                    CASE NUMBER:
                                                                                                                                         22STCV16589
           DEFENDANT/RESPONDENT: MOTTS, LLP

                                                                                                                                         Ref. No. or File No.:
                                               PROOF OF SERVICE SUMMONS                                                                  Keurig Motts


                                                         (Separate proof of service is required for each party served.)

     1.                 At the time of service I was at least 18 years of age and not a party to this action.

     2.         I served copies of: Complaint; Summons; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum and Statement of
                                    Location; Notice of Case Assignment Unlimited Civil Case; Alternative Dispute Resolution (ADR)
                                    Information Package; First Amended General Order

     3.         a. Party served (specify name of party as shown on documents served):
                   KEURIG DR. PEPPER, INC., a Delaware Corporation

                b.                Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                  under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                                  Sarai Marin (Gender: Female Age: 23 Height: 5'5" Weight: 145 Race: Hispanic Hair: brown Other: hazel eyes)
                                  CT Corp Intake Specialist

     4.         Address where the party was served: 330 N Brand Blvd Ste 700, Glendale, CA 91203

     5.         I served the party (check proper b ox)
                a.                by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                  service of process for the party (1) on: 6/24/2022 (2) at: 12:37 PM
                b.                by substituted service. On: at: I left the documents listed in item 2 with or in the presence of (name and title or
                                  relationship to person indicated in item 3):

                                  (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                              of the person to be served. I informed him or her of the general nature of the papers.
                                  (2)         (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
                                              place of abode of the party. I informed him or her of the general nature of the papers.
                                  (3)         (physical address unknown) a person of at least 18 years of age apparently in charge at the usual
                                              mailing address of the person to be served, other than a United States Postal Service post office box. I
                                              informed him or her of the general nature of the papers.
                                  (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                                              the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents:

                                                                                                                                                                              Page 1 of 2

          POS-010 [Rev. January 1, 2007]                                PROOF OF SERVICE OF SUMMONS
                                                                                                                                                             Invoice # 6079615-02
             Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 25 of 81 Page ID #:25
     PLAINTIFF/PETITIONER:                          John Trujillo                                                       CASE NUMBER:
     DEFENDANT/RESPONDENT:                          MOTTS, LLP                                                          22STCV16589


                                              on:                     from:                          or       a declaration of mailing is attached.

                             (5)              I attach a declaration of diligence stating actions taken first to attempt personal service.


5.         c.                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                             address shown in item 4, by first-class mail, postage prepaid,
                             (1) on:                                                    (2) from:
                             (3)             with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
                                             addressed to me. (Attach completed Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

                             (4)             to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

           d.                by other means (specify means of service and authorizing code section):

                             Additional page describing service is attached.

6.         The "Notice to the Person Served" (on the summons) was completed as follows:
           a.          as an individual defendant.
           b.                as the person sued under the fictitious name of (specify):
           c.                as occupant.
           d.                On behalf of (specify): KEURIG DR. PEPPER, INC., a Delaware Corporation
                             under the following Code of Civil Procedure section:
                                           416.10 (corporation)                                 415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                         416.60 (minor)
                                           416.30 (joint stock                                  416.70 (ward or conservatee)
                                           company/association)
                                           416.40 (association or partnership)                  416.90 (authorized person)
                                           416.50 (public entity)                               415.46 (occupant)
                                                                                                other:
7.         Person who served papers
           a. Name: Sal Dimas
           b. Address: 1000 Corporate Center Drive Suite 110, Monterey Park, CA 91754
           c. Telephone number: 213-628-6338
           d. The fee for service was: $45.00
           e. I am:
               (1)         not a registered California process server.
                  (2)              exempt from registration under Business and Professions Code section 22350(b).
                  (3)              a registered California process server:
                                   (i)              owner              employee               independent contractor.
                                   (ii)    Registration No.: 2014347850
                                   (iii)   County: Los Angeles

8.                I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                       Sal Dimas                     Date: 06/27/2022




POS-010 [Rev. January 1, 2007]                                                                                                                        Page 2 of 2
                                                                    PROOF OF SERVICE OF SUMMONS
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                    EXHIBIT 4
            Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 27 of 81 Page ID #:27
Electronically FILED by Superior Court of California, County of Los Angeles on 05/19/1092gRg MI0Bherrl R. Carter, Executive Officer/Clerk of Court, by J. Covarrubias,Deputy Clerk

                                                                                                                                                                       SUM-100
                                                      SUMMONS                                                                                  FOR COURT USE ONLY
                                                                                                                                           (SOLO PAPA USO DE LA COATS)
                                           (CITACION JUDICIAL)
       NOTICE TO DEFENDANT: MOTTS LLP,a Delaware limited liability company;
      (AVISO AL DEMANDADO): KEURIG DR PEPPER INC., a Delaware Corporation;
                              DR. PEPPER/SEVEN UP INC., a Delaware corporation;
                              and DOES 1 to 50.
       YOU ARE BEING SUED BY PLAINTIFF:         JOHN TRUJILLO, individually and
      (LO ESTA DEMANDANDO EL DEMANDANTE):on behalf of all others similarly
                                                situated.
         NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
         below.
           You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
        served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
        case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
        Online Self-Help Center (www.courtinfo.ca.goviselthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
        court cleric for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
        be taken without further warning from the court.
           There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
        referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
        these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
       (www.coudinfo.ca.govIselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
        costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
        iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versiOn. Lea la informed& a
        continuaciOn.
           Tiene 30 DIAS DE CALENDARIO despues de quote entreguen este cited& y papeles legates para presenter una respuesta por escrito en esta
        code y hacer qua se entregue una copia at demandante. Una coda o una Hamada telefenica no lo protegen. Su respuesta por escrito hone que estar
        en format° legal correcto 51 desea que procesen su caso en la code. Es posible que haya un formularto que usted pueda user para su respuesta.
        Puede encontrar estos fonnularios de la code y mas informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
        biblioteca de byes de su condado o en la code que to quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la code que
        le de un formulario de exencien de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code be podia
        guitar su sueldo, dines y bienes sin mas advertencia.
           Hay otros requisitos legates. Es recomendable que llama a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
        remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
        programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
       (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California,(www.sucorte.ca.gov) o poniendose en contacto con la code o el
        colegio de abogados locales. AVISO: Por by, la code hone detach()a reclamar las cuotas y los costos exentos por importer un gravamen sobre
        cualquier recuperaciOn de $10,0006 mas de valor recibida mediante un acuerdo o una concesiOn de arbitrate en un caso de derecho civil. Tiene que
        pagar el gravamen de la code antes de que la code pueda desechar el caso.
       The name and address of the court is:               Stanley Mosk Courthouse                                        CASE NUMBER:(Aligner() del Caso):
      (El nombre y direcciOn de la corte es):
                                                           1 1 1 N. Hill Street                                           22ST- eV 1 6589
                                                           Los Angeles, CA 90012
        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n yet armor°
        de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
        Alan Harris- HARRIS & RUBLE -655 N. Central Ave., 17th Floor, Glendale, CA 91203 - Tel:(323)962-3777
       DATE:       0519/2022                                                        Clerk, by9herri R. Carter Executive Officer I Clerk of Co url Deputy
      (Fecha)                                                                       (Secretario)         J. Cov a rrubi as                      (Adjunto)
       (For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de este citatiOn use el formulario Proof of Service of Summons,(POS-010).)
                                                 NOTICE TO THE PERSON SERVED: You are served
                                                 1.           as an individual defendant.
                                                 2.           as the person sued under the fictitious name of (speci),'):

                                                 3.   Ex]on behalf of(specify): DR.PEPPER!SEVEN UP,INC.,a Delaware corporation
                                                      under: MD CCP 416.10 (corporation)                                             CCP 416.60(minor)
                                                                       CCP 416.20(defunct corporation)                               CCP 416.70(conservatee)
                                                                     CCP 416.40(association or partnership)                  r 1 CCP 416.90(authorized person)
                                                                     other (specify):
                                                4.            by personal delivery on (date)
                                                                                                                                                                           Pape 1 of 1
       Form Adopted for Mandatory Use                                               SUMMONS                                                     Coda of Civil Procedure §§ 412.20.465
       Judicial Council of California                                                                                                                               www.courts.cagov
       SUM-100 Rev.July 1, 2009)

       For your protectitWfaiill privacy, please press the-Cieef1

       rhis Form button after you have printed the form.                       Print this form            Save this form                                IClear this form
            Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 28 of 81 Page ID #:28
                                                                                    22STCV16589
                                       Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Buckley
Electronically FIL ED by Superior Court of California, County of Los Angeles on 05/19/2022 10:55 AM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Covarrubias,Deputy Clerk


                   Alan Harris(SBN 146079)
            1      Priya Mohan(SBN 228984)
                   Min Ji Gal(SBN 311963)
           2       HARRIS & RUBLE
                   655 N. Central Ave., 17th Fl
           3       Glendale, CA 91203
                   Telephone: 323.962.3777
           4       Facsimile: 323.962.3004
                   harrisa@harrisandruble.com
           5       pmohan@harrisandruble.com
                   mgal@harrisandruble.com
           6
                   Attorneys for Plaintiff
           7       JOHN TRUJILLO
           8
                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
           9
                                                                            COUNTY OF LOS ANGELES
          10
                                                                                  CENTRAL DISTRICT
          11
                     JOHN TRUJILLO,individually and on behalf                                         Case No. 22STCV1 0589
          12         of all others similarly situated,
                                                                                                   COMPLAINT
          13                                           Plaintiffs,                                 [Class Action and PAGA Law Enforcement
                                                                                                   Complaint]
          14                    V.
                                                                                                     1. Violations of California Business and
          15        MOTTS LLP, a Delaware limited liability                                          Professions Code §§ 17200 et seq.
                    company; KEURIG DR PEPPER INC., a
          16        Delaware Corporation; DR.PEPPER/SEVEN                                            2. Unpaid Minimum Wages, California Labor
                    UP INC., a Delaware corporation; and DOES 1                                      Code §§ 1194, 1197 and Wage Order
          17        to 50,
                                                                                                     3. Unpaid Overtime Wages, California Labor
          18                                           Defendants.                                   Code § 510 and 1198
          19                                                                                         4. Improper Wage Statements, California Labor
                                                                                                     Code § 226
         20
                                                                                                     5. Failure to pay timely wages, Cal. Lab. Code §
         21                                                                                          210
         22                                                                                          6. Private Attorney General Act, California Labor
                                                                                                     Code §§ 2698 et seq.
         23
                                                                                                     7. Cal. Lab. Code § 226(b), Failure to Provide
         24                                                                                          Employment Records
         25                                                                                          8. Cal. Lab. Code § 1198.5, Failure to Provide
                                                                                                     Employment Records
         26
                                                                                                         DEMAND FOR JURY TRIAL
         27

         28



                                                                                         COMPLAINT
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                                                              r


 1          Plaintiff John Trujillo ("Plaintiff') alleges:

 2                                      PRELIMINARY ALLEGATIONS

 3           1.     Plaintiff John Trujillo, on behalf of himself and on behalf of a class as hereinafter defined

 4   are, and at all recent times herein mentioned was and is, a resident of California working for Defendants

 5   Motts LLP, Keurig Dr. Pepper Inc. and Dr. Pepper/Seven Up Inc.(collectively "Keurig Dr. Pepper"),

 6   entities which routinely do substantial business within the County of Los Angeles, State of California.

 7   Plaintiff worked for Defendants in Victorville, California. Plaintiff brings this action on behalf ofthe

 8   public of the State of California pursuant to the authority of Business and Professions Code sections

 9   17200, 17203, and 17535.

10          2.      Defendant Motts LLP is a limited liability company established under the laws of the

11   State of Delaware. Keurig Dr. Pepper Inc. is a Delaware corporation. Dr. Pepper/Seven Up Inc. is a

12   Delaware corporation. According to Defendant Mats LLP's website, the "Mott's brand continues as

13   part of the Plano, Texas-based Keurig Dr. Pepper, a leading producer and distributer of hot and cold

14   beverages that satisfy the needs of people anytime, anywhere." According to Defendant Keurig Dr.

15   Pepper Inc.'s website,"Keurig Dr Pepper(NASDAQ: KDP)is a leading beverage company in North

16   America and the first to bring hot and cold beverages together at scale. Formed in 2018 with the merger

17   of Keurig Green Mountain and Dr. Pepper Snapple Group, Keurig Dr Pepper has annual revenue in

18   excess of$11 billion and nearly 27,000 employees. According to Defendant Dr. Pepper/Seven Up Inc.'s

19   website, Dr. Pepper is America's oldest major soft drink. "In 2008, Dr Pepper Snapple Group, Inc., the

20   parent company of Dr Pepper and Dr Pepper/Seven Up, Inc., was established following the spinoff of

21   Cadbury Schweppes Americas Beverages(CSAB)from Cadbury Schweppes plc. It remands one of

22   North America's leading refreshment beverage companies, manufacturing, bottling and distributing

23   more than 50 brands of carbonated soft drinks,juices, teas, mixers, waters and other premium

24   beverages."

25          3.      Defendants Doe One through and including Doe Fifty are sued herein under the

26   provisions of section 474 of the California Code of Civil Procedure. Plaintiff is unaware of the true

27   names, identities or capacities, whether corporate, individual or otherwise, of said fictitiously name

28   defendants, but leave of Court will be prayed to amend this pleading to insert the same herein when


                                                        2
                                                    COMPLAINT
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 1   finally ascertained. Plaintiff is informed, believes and thereupon alleges that each of the fictitiously

 2   named Defendants is an entity, which during the relevant time period maintained a place of business in

 3   the County of Los Angeles ofthe State of California.

 4          4.      Plaintiff is informed and believes and thereon alleges that, at all times herein mentioned,

 5   Defendants, and each ofthem, were the agents, servants, employees, and/or joint ventures of their co-

6    Defendants as aforesaid, when acting as a principal, were negligent and reckless in the selection and

 7   hiring of each and every other Defendants as an agent, servant, employee, corporate officer, and/or joint

 8   venture, and that each and every Defendant ratified the acts of the co-Defendants.

 9                                       JURISDICTION AND VENUE

10          5.      Jurisdiction in this Court is proper pursuant to California Business and Professions Code

11   sections 17203 and 17535 and California Code of Civil Procedure section 410.10.

12          6.      Venue as to Defendants is proper in this judicial district pursuant to the provisions of

13   Business and Professions Code sections 17203 and 17535 as well as California Code of Civil Procedure

14   sections 395(a)and 395.5. Each Defendant maintains an office, transacts business, has an agent, or is

15   found in the County ofLos Angeles, and is within the jurisdiction of this Court for purposes of service

16   of process.

17                                         NATURE OF THE ACTION

18          7.      This is an action in equity to enjoin a scheme of unfair and fraudulent business practices

19 (Business and Professions Code section 17200). The power of the court to enjoin such practices is

20   found in the general equitable powers of the court and in Business and Professions Code sections 17203

21   and 17535. Such code sections also empower the Court to make any other orders or judgments,

22   including the appointment of a receiver, as may be necessary to prevent the use or employment of

23   practices which violate such code sections or which may be necessary to restore to any person in

24   interest, any money or property which may have been acquired by means of any practice which violates

25   such code sections. Plaintiff brings this action on behalf of all of the members of the general public the

26   State of California and the people of the State of California as provided for in Business and Professions

27   Code sections 17203 and 17535.

28


                                                        3
                                                    COMPLAINT
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 1                              ALLEGATIONS COMMON TO ALL COUNTS

 2           8.     Plaintiff alleges that in doing the acts and omissions herein alleged, Defendants and their

 3   co-conspirators and alter egos, and each of them, with respect to the acts or steps taken by each ofthem

 4   in connection with the events described or referred to herein, acted as the agent of the other Defendants

 5   and co-conspirators, pursuant to a common goal or scheme to conserve resources by failing to provide

 6   proper payroll accounting and timely payment of wages owing to Keurig Dr. Pepper employees, all to

 7   the derogation ofthose workers and the general public of the State of California. Unknown to Plaintiff

 8   and other Keurig Dr. Pepper workers, Defendants would carry out the wrongful patterns of conduct

 9   herein alleged and would conspire to conceal the same, and each of them is in some manner responsible

10   as principals or under the doctrine of respondeat superior, for the matters complained of, in that all the

11   transactions and events and dealings described herein, and communications related thereto, were

12   chapters in, or parts of, a connected or interrelated wrongful, illegal, inequitable, fraudulent or deceptive

13   set of schemes and conspiracies, requiring steps and activities by each of the Defendants in order to

14   make the interrelated schemes and conspiracies work or be successful to unjustly enrich Defendants and

15   deceive Plaintiff and the general public ofthe State of California. At the times relevant to this

16   Complaint, each Defendant, in connection with the transactions, events and dealings alleged herein, and

17   the alleged violations and tortious conduct set forth herein:

18         (a)      acted in concert with the other Defendants;

19         (b)      knew that the conduct of the other Defendant described herein (including omissions to act

20   in the face ofthe situation then obtaining) constituted a breach of duty to Plaintiff and gave substantial

21   assistance or encouragement to each such Defendant to so conduct itselfin such a way as to allow or

22   cause one or the other, or both, to be unjustly enriched;

23         (c)      gave substantial assistance to each such other Defendant in accomplishing the tortious,

24   inequitable, or wrongful conduct and such Defendant's own conduct, separately considered, constituted

25   a breach of duty to the Plaintiff and the general public ofthe State of California as set forth herein;

26         (d)      induced the wrongful or tortious conduct and such Defendant knew or should have

27   known of the circumstances that would make the conduct tortious or inequitable if it were such

28   Defendant's own conduct;


                                                        4
                                                    COMPLAINT
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 1            (e)   conducted its activities with the aid ofthe other Defendant and was negligent in

 2   employing or engaging or supervising the other Defendant;

 3         (0       controlled, or had a duty to use care to control, the conduct ofthe other Defendants, who

 4   were likely to do harm if not supervised and/or controlled, and failed to exercise care in the control;

 5   and/or

 6            (g)   had a duty to provide protection for, or to have care used for the protection ofthe

 7   Plaintiffs and general public and confided the performance of such duty to other Defendants, and such

 8   Defendant caused, or failed to avert, the tortious or wrongful conduct as set forth herein by failing to

 9   perform such duty.

10            9.    Defendants failed to devote sufficient resources to the payroll accounting function, with

11   the result that for week after week Plaintiff and other Keurig Dr. Pepper employees have been

12   systematically underpaid.

13            10.   In or about December of 2021,the Defendants failed to main proper payroll accounting

14   procedures, resulting in continuous, systematic underpayment of wages to Plaintiffs and other Keurig

15   Dr. Pepper workers. Since then Defendants have failed and refused to devote sufficient resources to

16   repair or replacement of its payroll system, with the result that routine violations of the California Labor

17   Code have resulted.

18            11.   By virtue of failing to comply with the requirements of the California Labor Code and

19   related Wage Order ofthe IWC,Defendants are operating in violation oflaw and therefore liable under

20   the unlawful prong of California's Unfair Competition Law.

21            12.   Defendants have held themselves out to its employees and the citizens of the State of

22   California as being experts in the field of manufacturing and distribution operations in order to

23   wrongfully obtain money and excessive profits utilizing unfair business practices by failing to devote

24   sufficient resources to maintenance and repair of its payroll accounting function resulting in addition to

25   underpayments to employees, under withholding of the various taxes and other required payments, all in

26   derogation ofthe California Labor Code. On information and belief, prior to this lawsuit being filed,

27   Defendants have not properly disclosed the true purposes of their actions in failing to properly maintain

28   and repair its payroll accounting function.


                                                        5
                                                    COMPLAINT
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 I                                       CLASS ACTION ALLEGATIONS

 2           13.     Plaintiff brings this action on behalf of himself and all others similarly situated, providing

 3   non-exempt services for Defendants in California, as a class action pursuant to section 382 ofthe Code

 4   of Civil Procedure. Plaintiff seeks to represent a Class composed of and defined as follows:

 5           All of Defendants' hourly employees in California during the period from four years

 6           prior to the filing of this lawsuit to the present.

 7           14.     This action has been brought and may be properly maintained as a class action under the

 8   provisions of section 382 ofthe Code of Civil Procedure because there is a well-defined community of

 9   interest in the litigation and the proposed Classes are easily ascertainable.

10           15.     Defendants, as to Plaintiff and each Class Member,failed to properly provide the data

11   required by section 226(a) of the Code and, accordingly, Defendants' failure to provide such data

12   entitles Plaintiff and each Class Member to either actual damages or statutory liquidated damages,

13   whichever is greater. For example, among other violations, Plaintiff's wage statements did not include

14   the correct information for the legal name and address ofthe employer or "gross wages earned," "total

15   hours worked by the employee," and "net wages earned." Accordingly, Defendants' failure to provide

16   proper wage statements entitles Plaintiff and each Class Member to either actual damages or statutory

17   damages, whichever is greater.

18           16.     Defendants, as to Plaintiff and each Class Member,failed to timely compensate as

19   required by Cal. Lab. Code section 210. Plaintiff and each Class Member was also not properly paid for

20   all minimum and overtime wages.

21          A. Numerosity

22           17.    The potential members of each Class as defined are so numerous that joinder of all the

23   members of either Class is impracticable. The number of Class Members is great, but not so great as to

24   make the class unmanageable. It therefore is impractical to join each Class Member as a named

25   plaintiff. Accordingly, utilization of a class action is the most economically feasible means of

26   determining the merits of this litigation.

27           18.    Despite the size ofthe proposed Classes, the Class Members are readily ascertainable

28   through an examination of the records that Defendants are required by law to keep. Likewise, the dollar


                                                          6
                                                      COMPLAINT
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 1   amount owed to each Class Member is readily ascertainable by an examination ofthose same records.

 2          B. Commonality

 3           19.      There are questions of law and fact common to each Class that predominate over any

 4   questions affecting only individual Class Members. These common questions of law and fact include,

 5   without limitation:

 6                 a. Whether Defendants' failure to provide accurate itemized wage statements to each and

 7                    every employee violates Code section 226(a).

 8                 b. Whether Defendants failed to pay all wages in a timely fashion in violation of section

 9                    210 of the Code.

10                 c. Whether Defendants failed to pay minimum wages to Class Members in violation of

11                    sections 1194 and 1197 of the Code.

12                 d. Whether Defendants failed to pay overtime wages to Class Members in violation of

13                    sections 510 and 1198 ofthe Code.

14          C. Typicality

15          20.       There is a well-defined community of interest in the questions of law and fact common to

16   the Class Members.

17          21.       The claims of the named Plaintiff are typical of the claims of the Class and Subclass,

18   which claims all arise from the same general operative facts, namely, Defendants did not provide wage

19   statements to employees that conformed with the requirements of Code section 226(a), and did not

20   compensate their employees as required by the Code and applicable Wage Order. Plaintiff and all

21   members ofthe Class sustained injuries and damages arising out of and caused by the Defendants'

22   common course of conduct in violation oflaws, regulations that have the force and effect oflaw, and

23   statutes as alleged herein. Plaintiff has no conflict of interest with the other Class Members and is able

24   to represent the Class Members' interests fairly and adequately.

25          D. Adequacy of Representation

26          22.       Plaintiff will fairly and adequately represent and protect the interests of the members of

27   each Class. Plaintiff's counsel are competent and experienced in litigating large employment class

28   actions. Neither Plaintiff nor his counsel has any conflict with the Class.


                                                         7
                                                     COMPLAINT
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 1           E. Superiority of Class Action

 2          23.      A class action is superior to other available means for the fair and efficient adjudication

 3   of this controversy. Individual joinder of all Class Members is not practicable, and questions of law and

 4   fact common to the Class predominate over any questions affecting only individual members of the

 5   Class. Each member ofthe Class/Subclass has been damaged and is entitled to recovery by reason of

 6   Defendants' illegal policies and/or practices of:(i) failing to provide compliant wage statements;(ii)

 7   failing to pay hourly wages; and (iii) failing to pay overtime wages. Class action treatment will allow

 8   those similarly situated persons to litigate their claims in the manner that is most efficient and

 9   economical for the parties and the judicial system. Plaintiffs are unaware of any difficulties that are

10   likely to be construed in the management of this action that would preclude its maintenance as a class

11   action. The disposition of all claims of the members of the Class in a class action, rather than in

12   individual actions, benefits the parties and the Court. The interest ofthe Class Members in controlling

13   the prosecution of separate claims against Defendants is small when compared with the efficiency of a

14   class action.

15          24.      There is a well-defined community of interest in the questions of law and fact common to

16   the Class. The key questions are the same for each Class Member, namely,

17         (a) Whether the class member as an employee of Defendants within California was paid timely;

18         (b) Whether the class member as an employee of Defendants within California was issued a

19                compliant wage statement;

20         (c) Whether Defendants' failure to compensate for all hours worked resulted in a failure to pay

21                minimum wages and overtime wages.

22                                       FIRST CAUSE OF ACTION
23                                          Unfair Business Practices
                           (California Business and Professions Code §§ 17200 et seq.
24                              Behalf of Plaintiff and Class Against Defendants)

25          25.      Plaintiff realleges and incorporates by reference as though set forth herein in full all

26   paragraphs of this Complaint.

27          26.      Such acts of Defendants, and each of them, are unfair business practices and therefore

28   constitute violations ofthe unfairness prong of California Business and Professions Code section 17200.


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                                                     COMPLAINT
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 1             27.   As a result of the above violations of Business and Professions Code section 17200,

 2   Plaintiff, on behalf ofthe People ofthe State of California pursuant to Business and Professions Code

 3   section 17203, is entitled to an order of this Court enjoining such future conduct on the part of

 4   Defendants, and each ofthem, and such other orders and judgments which may be necessary.

 5             28.   Plaintiff is entitled to an award of reasonable attorneys' fees and costs under the private

6    attorney general theory and under California Code of Civil Procedure section 1021.5 for the benefit

 7   conferred upon the general public ofthe State of California by any injunctive or other relief entered

 8   herein.

9
                                        SECOND CAUSE OF ACTION
                             (Failure to Pay Minimum Wage, California Labor Code
10
                                      §§ 1197, 1197 and IWC Wage Order 1
                              On Behalf of Plaintiff and Class Against Defendants)
11
               29.   Plaintiff realleges and incorporates herein by reference the allegations contained in this
12
     Complaint as though fully set forth herein.
13
               30.   During their employment, Defendants failed to pay Plaintiff and Class Members
14
     minimum wages for work they performed. Upon information and belief, Plaintiff and the other members
15
     ofthe Class worked many hours without proper compensation for work they performed.
16
               31.   Plaintiff and members of the Class are, accordingly, entitled to recovery of the unpaid
17
     balance of the full amount of their unpaid minimum wages, including interest thereon, reasonable
18
     attorneys' fees and costs of suit, in accordance with section 1194(a) ofthe California Labor Code.
19
               32.   Plaintiff and the Class are also entitled to liquidated damages under section 1194.2 of the
20
     California Labor Code in an amount according to proof.
21

22
                                          THIRD CAUSE OF ACTION
23                            (Failure to Pay Overtime Wage, California Labor Code
                                       §§ 510, 1198 and IWC Wage Order 1
24                             On Behalf of Plaintiff and Class Against Defendants)

25             33.   Plaintiff realleges and incorporates herein by reference the allegations contained in this

26   Complaint as though fully set forth herein.

27             34.   During their employment, Defendants failed to pay Plaintiff and Class Members proper

28   overtime wages for work they performed in excess of eight hours in a day or forty hours in a week.


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                                                    COMPLAINT
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                                                        •

 1   Upon information and belief, Plaintiff and the other members ofthe Class worked many hours without

 2   proper overtime compensation for work they performed, as required by sections 510 and 1194 ofthe

 3   California Labor Code and IVVC Wage Order 1.

 4           35.     Plaintiff and members ofthe Class are, accordingly, entitled to recovery of the unpaid

 5   balance of the full amount of their unpaid overtime, including interest thereon, reasonable attorneys'

 6   fees and costs of suit pursuant to section 1194.

 7
                                        FOURTH CAUSE OF ACTION
 8
                    (Failure to Provide Information on Pay Stubs, California Labor Code § 226
 9                           On Behalf ofPlaintiff and the Class Against Defendants)
             36.     Plaintiff realleges and incorporates herein by reference the allegations contained in this
10
     Complaint as though fully set forth herein. Defendants failed to timely provide Plaintiff and the other
11
     members of the Class with wage statements conforming to the requirements of section 226(a) of the
12
     California Labor Code. For example, Defendants' Wage Statements did not include the correct
13
     information for the legal name and address of the employer or "gross wages earned," "total hours
14
     worked by the employee," and "net wages earned." Cal. Lab. Code § 226(a).
15
             37.     The failure of Defendants to provide proper wage statements violates section 226(a) of
16
     the California Labor Code insofar as the Class Members have not received data that accurately sets forth
17
     the information delineated in section 226(a) with respect to information regarding their employer and
18
     how much pay they received for which pay period. The failure to identify required data caused Plaintiff
19
     and other members ofthe putative class injury by depriving them ofinformation to which they are
20
     legally entitled.
21
             38.     Accordingly, Plaintiff as well as members ofthe Class are entitled to damages in the
22
     amount of at least $50, or damages in an amount according to proof and costs and reasonable attorney's
23
     fees in accordance with the provisions of California Labor Code section 226(e).
24

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                                                     COMPLAINT
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                                                  •
                                       FIFTH CAUSE OF ACTION
 1
        (Failure to Timely Pay Wages, California Labor Code § 210 On Behalf of Plaintiff and the Class
 2                                           Against Defendants)
             39.    Plaintiff realleges and incorporates herein by reference the allegations contained in this
 3
     Complaint as though fully set forth herein.
 4
            40.     Defendants failed to timely provide Plaintiff and the other members of the Class with
 5
     wages as required by section 210 ofthe California Labor Code.
 6
            41.     The failure of Defendants to provide proper wages in timely fashion violates sections
 7
     201, 202, 203 and/or 204 of the California Labor Code. Code section 210 states in relevant part:
 8
               (a) In addition to and entirely independent and apart from, any other penalty provided in this
 9
                     article, every person who fails to pay the wages of each employee as provided in
10
                     Sections 201.3, 204, 204b, 204.1, 204.2, 204.11, 205, 205.5, and 1975.5, shall be subject
11
                     to a penalty as follows:
12
               (1) For any initial violation, one hundred dollars($100)for each failure to pay each
13
                    employee.
14
               (2) For each subsequent violation, or any willful or intentional violation, two hundred dollars
15
                   ($200)for each failure to pay each employee, plus 25 percent of the amount unlawfully
16
                    withheld.
17

18
               (c) An employee is only entitled to either recover the statutory penalty provided for in this
19
                    section or to enforce a civil penalty as set forth in subdivision (a) of Section 2699, but
20
                    not both, for the same violation.
21
     Cal. Lab. Code § 210.
22
            42.     Plaintiff and members ofthe Class are, accordingly, entitled to recovery of penalties,
23
     including interest thereon, reasonable attorneys' fees and costs of suit.
24

25

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                                                    COMPLAINT
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                                       SIXTH CAUSE CiF ACTION
 1
              (PAGA Civil Penalties Pursuant to California Labor Code § 2698 et seq. On Behalf of
 2                      Plaintiff and Aggrieved Employees Against All Defendants)
             43.     Plaintiff realleges and incorporates herein by reference the allegations contained in this
 3
      Complaint as though fully set forth herein.
 4
             44.     On February 11, 2022, pursuant to section 2699.3(a)(1) of the Labor Code Plaintiff
 5
      submitted his PAGA Claim Notice online to the California Labor and Workforce Development Agency
 6
     ("LWDA")and notified the LWDA of the specific provisions ofthe Labor Code alleged to have been
 7
      violated by Defendants. Also on that day, Plaintiff gave written notice by certified mail to Defendants'
 8
     Registered Agents for Service of Process of the specific provisions of the Labor Code alleged to have
 9
      been violated by Defendants.
10
             45.    Plaintiff seeks to represent all Aggrieved Employees, defined as all of Defendants' hourly
11
     employees in California during the period from one year prior to giving notice under PAGA,February
12
      11, 2022, through the present.
13
             46.     At all relevant times, California Labor Code section 2699.3(a)(2)(A) provided:
14

15           The agency shall notify the employer and the aggrieved employee or representative by
             certified mail that it does not intend to investigate the alleged violation within 60 calendar
16           days of the postmark date ofthe notice received pursuant to Paragraph (1). Upon receipt
             of that notice or if no notice is provided within 65 calendar days of the postmark date of
17           the notice given pursuant to Paragraph (1), the aggrieved employee may commence a
18           civil action pursuant to Section 2699.
     Cal. Lab. Code § 2699.3(a)(2)(A).
19
             47.    When sixty-five (65)calendar days ofthe postmark date of the notice sent by a plaintiff
20
     have passed the plaintiff may "commence a civil action pursuant to Section 2699." Cal. Lab. Code §
21
     2699.3(a)(2)(A). More than sixty-five calendar day have passed since Plaintiff gave written notice of
22
     the PAGA violations to the LWDA and Defendants.
23
             48.    Plaintiff contends that sections 201, 202, 203, 204, 210, 226, 226.7, 510, 512, 558, 558.1,
24
      1 174, 1194, 1197, 1198, 2802, and 2699 et seq. of the Labor Code enables him to recover civil penalties
25
     under PAGA,as well as attorney's fees and costs, from Defendants, through a civil action on behalf of
26
     himself and other Aggrieved Employees.
27

28


                                                       12
                                                    COMPLAINT
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                                                     •
 1          49.     Plaintiff seeks to recover the PAGA civil penalties through a representative action

 2   permitted by PAGA and the California Supreme Court in Arias v. Superior Court,46 Cal. 4th 969

 3 (2009). Therefore, class certification of the PAGA claims is not required.

 4          50.     Plaintiff seeks civil penalties pursuant to PAGA for violations of the following Labor

 5   Code provisions:

 6             (a) Failure to timely pay wages during employment in violation of Labor Code §§ 204

 7                  and 210. Aggrieved Employees were not compensated twice during each calendar

 8                  month for wages earned, or otherwise, by the times prescribed by section 204. The

 9                  failure of Defendants to make timely payments within the time provided for has been and

10                  is "willful" within the meaning ofsuch word as used in Section 210 ofthe California

11                  Labor Code and that, accordingly, each Aggrieved Employee who was not timely paid

12                  her or her timely wages during their employment is entitled to civil penalties. Labor

13                  Code section 210 provides for a penalty of$100 for each initial violation and $200 for

14                  each subsequent, or willful or intentional violation plus 25 percent of the amount

15                  unlawfully withheld.

16             (b) Failure to pay wages and/or final wages in violation of Labor Code §§ 201,202 and

17                  203. With respect to violations of Labor Code §§ 201 and 202, the failure of Defendants

18                  to make final payments within the time provided for has been and is "willful" within the

19                  meaning of such word as used in Section 203 of the California Labor Code and that,

20                  accordingly, each Aggrieved Employee who was not timely paid her or her final wages is

21                  entitled to civil penalties. Labor Code section 2699(0(2)imposes a civil penalty of$100

22                  per pay period per Aggrieved Employee for initial violations, and $200 per pay period

23                  per Aggrieved Employee for subsequent violations for all Labor Code provisions for

24                  which a civil penalty is not specifically provided.

25             (c) Failure to provide itemized wage statements in violation of Labor Code § 226(a).

26                  Aggrieved Employees have not been provided a wage statement as required by Labor

27                  Code section 226(a). The foregoing was the intentional misconduct of Defendants that

28                  was intended to mislead and injure Aggrieved Employees insofar as they were subjected


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                                                   COMPLAINT
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 1                    to confusion and deprived ofinformation to which they were legally entitled. Section

 2                    226(e) provides that any employee who suffers injury as a result of a knowing and

 3                    intentional failure by the employer to comply with its obligation to provide wage

 4                    statements containing all of the information referenced above is entitled to recover.

 5                    Section 226.3 provides for a civil penalty of$250 per employee per violation in an initial

 6                    violation and $1,000 per employee for each violation in a subsequent violation, for which

 7                    the employer fails to provide the employee a wage deduction statement or fails to keep

 8                    the records required in subdivision (a) of Section 226.

 9               (d) Failure to pay minimum and overtime wages in violation of Labor Code §§ 510,

10                   558, 1194, 1197, and 1198. Both late payment and non-payment of minimum wages

11                   violate the state statute requiring the payment of a minimum hourly wage. Labor Code

12                   section 558 imposes a civil penalty in addition to any other penalty provided by law of

13                   $50 for initial violations for each underpaid employee for each pay period for which the

14                   employee was underpaid in addition to an amount sufficient to recover unpaid wages,

15                   and $100 for subsequent violations for each underpaid employee for each pay period for

16                   which the employee was underpaid in addition to an amount sufficient to recover

17                   underpaid wages.

18               (e) Failure to keep complete and accurate payroll records. Failure to keep complete and

19                   accurate payroll records relating to Aggrieved Employees in accordance with California

20                   Labor Code section 1174(d). Willful failure to maintain accurate and complete records

21                   required by section 1174(d) is subject to a civil penalty of $500. Cal. Lab. Code §

22                   1174.5.

23                                      SEVENTH CAUSE OF ACTION
                      (Failure to Provide Employment Records Upon Request Code § 226(b)
24
                         On Behalf ofPlaintiff Against Defendant Keurig Dr. Pepper, Inc.)
25          1.       Plaintiff realleges and incorporates herein by reference the allegations contained in this
26   Complaint as though fully set forth herein.
27          2.       Pursuant to Labor Code section 226(b), an employer shall afford current and former
28   employees the right to inspect or copy the records pertaining to that current or former employee, upon

                                                       14
                                                    COMPLAINT
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 1   reasonable request to the employer.

 2           3.      On February 7, 2022, Plaintiff requested that Defendant Keurig Dr. Pepper, Inc. permit

 3   inspection or copying of his employment records pursuant to Labor Code section 226(b). Defendant

 4   Keurig Dr. Pepper, Inc., has failed to provide Plaintiff with an opportunity to inspect or copy their

 5   employment records within 21 days of his request. Defendant Keurig Dr. Pepper, Inc. has not produced

 6   any records, at all.

 7          4.       Pursuant to Labor Code Section 226(b)and (f), Plaintiff is entitled, and hereby seek to

 8   recover from Defendant Keurig Dr. Pepper, Inc. a seven-hundred-fifty-dollar($750)penalty for the

 9   violation, reasonable attorney's fees, and the costs of bringing this cause of action.

10                                      EIGHTH CAUSE OF ACTION
                      (Failure to Provide Employment Records Upon Request Code §1198.5
11
                        On Behalf ofPlaintiff Against Defendant Keurig Dr. Pepper, Inc.)
12          5.       Plaintiff realleges and incorporates herein by reference the allegations contained in this
13   Complaint as though fully set forth herein.
14          6.       Pursuant to Labor Code section 1198.5, an employer shall afford current and former
15   employees the right to inspect or copy the personnel records pertaining to that current or former
16   employee, upon reasonable request to the employer.
17          7.       On February 7, 2022, Plaintiff requested that Defendant Keurig Dr. Pepper, Inc. permit
18   inspection or copying of their personnel records pursuant to Labor Code section 1198.5. Defendant
19   Keurig Dr. Pepper, Inc. has failed to provide Plaintiff with an opportunity to inspect or copy the
20   employment records within 30 days of their request.
21          8.      Pursuant to Labor Code Section 1198.5(k), Plaintiff is entitled, and hereby seeks to
22   recover from Defendant Keurig Dr. Pepper, Inc. a seven-hundred-fifty-dollar($750)penalty for the
23   violation, reasonable attorney's fees, and the costs of bringing this cause of action.
24                                           PRAYER FOR RELIEF
25   WHEREFORE,Plaintiff prays for judgment as follows:
26           1.     For judgment ofthe Court, to restore to the Keurig Dr. Pepper workers any property or
27   money acquired by means of such unlawful actions and statements.
28


                                                       15
                                                    COMPLAINT
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 1            2.    That, for Failure to Pay Minimum Wages, this Court enter judgment in favor of Plaintiff

 2   and Class Members against Defendants in the amount of unpaid minimum wages and liquidated

 3   damages according to proof, interest thereon, and costs and reasonable attorneys' fees pursuant to

 4   sections 1194 and 1194.2.

 5            3.    That, for Failure to Pay Overtime, this Court enter judgment in favor ofPlaintiff and

 6   Class Members against Defendants in the amount of unpaid overtime and liquidated damages according

 7   to proof, interest thereon, and costs and reasonable attorneys' fees pursuant to sections 1194.

 8            4.    That, for Failure to Provide Compliant Wage Statements, this Court enter judgment in

 9   favor ofPlaintiff and Class Members against Defendants. That judgment be entered in favor of Plaintiff

10   in an amount according to proof, and costs and reasonable attorneys' fees in accordance with the

11   provisions of California Labor Code section 226(e).

12            5.    That, for failure to pay timely wages, it be adjudged that the failure of Defendants to

13   make payment ofPlaintiffs and Class Members' wages was in violation of section 204 and 210 ofthe

14   California Labor Code and was "willful" as that word is used in section 210 of the California Labor

15   Code, and that the Court enter judgment against Defendants in favor of Plaintiff and Class Members.

16   Thatjudgment be entered in favor ofPlaintiff and Aggrieved Employees in an amount according to law

17   and proof, interest thereon, and costs and reasonable attorneys' fees in accordance with the provisions of

18   California Labor Code section 218.5.

19            6.    That, under the Sixth Cause of Action, the Court enter judgment in favor of the State of

20   California, Plaintiff and Aggrieved Employees and against Defendants, including attorneys' fees and

21   reimbursement of costs. Thatjudgment be entered in an amount according to proof or as otherwise

22   plead.

23            7.    That, with respect to the Seventh Cause of Action, this Court enter judgment in favor of

24   Plaintiff against Defendant Keurig Dr. Pepper, Inc. in the amount of $750, reasonable attorney's fees,

25   and the costs of bringing this cause of action under Code Section 226(b)and (f).

26            8.    That, with respect to the Eighth Cause of Action, this Court enter judgment in favor of

27   Plaintiff against Defendant Keurig Dr. Pepper, Inc. in the amount of $750, reasonable attorney's fees,

28   and the costs of bringing this cause of action pursuant to Code Section 1198.5(k).


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                                                   COMPLAINT
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 1          9.      For an Order certifying the requested classes.

 2          10.     For an award of attorneys' fees and costs pursuant to Code of Civil Procedure Sections

 3   218.5 and 1021.5.

 4          1 1.    For costs of suit herein incurred.

 5          12.     For such other and further relief as this Court deems appropriate or which is allowed for

 6   in law or equity.

 7

 8   DATED: May 19, 2022                                         HARRIS & RUBLE

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                                                                 /f-ec,,,i, iii...-
                                                                 Alan Harris
11                                                               Attorneyfor Plaintiff

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         ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and      address)4ZS I UV I bbn
                                                                                                                                       FOR COURT USE ONLY
       Alan Harris(SBN 146079) Priya Mohan(SBN 228984)
       Harris & Ruble
       655 North Central Ave, 17th Floor
                                                                                       •
       Glendale, CA 91203
               TELEPHONE NO.:                         FAX NO.(Optional):
                             (323)962-3777
          ATTORNEY FOR (Name):
                               PlaintiffJOHN TRUJILLO
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
        STREET ADDRESS: 111 N. Hill Street
        MAILING ADDRESS:
                        111 N. Hill Street
       CITY AND ZIP CODE:
                        Los Angeles, CA 90012
           BRANCH NAME:
                        Stanley Mosk Courthouse
       CASE NAME: J. Trujillo v. Motts LLP, et al.


             CIVIL CASE COVER SHEET                                                       CASE NUMBER:
                                                    Complex Case Designation
       ni Unlimited           ni Limited         E 1 Counter            FT Joinder             22STCV1 6589
             (Amount            (Amount
                                                Filed with first appearance by defendant JUDGE:
             demanded            demanded is
                                                   (Cal. Rules of Court, rule 3.402)      DEPT.:
             exceeds $25,000)    $25,000)
                                  Items 1-6 below must be completed (see instructions on page 2).
        1. Check one box below for the case type that best describes this case:
           Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
          -
          1   1 Auto (22)                                                 Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
                Uninsured motorist(46)                           TT       R• ule 3.740 collections (09)          I—I Antitrust/Trade regulation (03)
          Other PI/PD/WD (Personal Injury/Property                       Other collections(09)                   -
                                                                                                                 1 1 Construction defect(10)
          Damage/Wrongful Death) Tort                                                                                    Mass tort(40)
                                                                          Insurance coverage (18)
                   Asbestos(04)                                                                                          Securities litigation (28)
                   Product liability (24)
                                                                 1 7 O•
                                                                 -        ther contract(37)
                                                                  Real Property                                        Environmental/Toxic tort(30)
                   Medical malpractice (45)                                                                            Insurance coverage claims arising from the
                                                                -
                                                                1 1 Eminent domain/Inverse
                                                                                                                       above listed provisionally complex case
                Other PI/PD/WD (23)                                 condemnation (14)
                                                                                                                       types (41)
           Non-PI/PD/WD (Other) Tort                                Wrongful eviction (33)                        Enforcement of Judgment
               Business tort/unfair business practice (07)        Other real property (26)                       F-1 Enforcement of judgment(20)
           I—I Civil rights (08)                           U nlawful Detainer
                                                                                                                 Miscellaneous Civil Complaint
           I—I Defamation (13)                             ET Commercial (31)
                                                                                                                         RICO (27)
           ni Fraud (16)                                                 Residential (32)
                                                                                                                         Other complaint (not specified above)(42)
                   Intellectual property (19)                          Drugs(38)
                                                                                                                  Miscellaneous Civil Petition
           1—I Professional negligence (25)                      Judicial Review
                                                                -
                                                                1 1 Asset forfeiture (05)
                                                                                                                         Partnership and corporate governance (21)
           I—I Other non-Pl/PD/WD tort(35)
           Employment                                            TT Petition re: arbitration award (11)                  Other petition (not specified above)(43)
           I—I Wrongful termination (36)                                 Writ of mandate (02)
         [X] Other employment(15)                                        Other judicial review (39)

      2. This case X is                  is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
         factors requiring exceptional judicial management:
         a.        Large number of separately represented parties       d. ni Large number of witnesses
          b. TT Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
                   issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
         c. X Substantial amount of documentary evidence                          court
                                                                        f.         Substantial postjudgment judicial supervision
      3. Remedies sought(check all that apply):a.            monetary b. FT nonmonetary; declaratory or injunctive relief c.            1 punitive
      4. Number of causes of action (specify): 8
      5. This case r X is         -I  1 is not    a class action suit.
      6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
      Date: may 19, 2022
                 Alan Harris
                                 (TYPE OR PRINT NAME)
                                                                                                                    Aer.c.04, 4444.t.,
                                                                                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
         in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
         other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                        Page 1 of 2
      Form Adopted for Mandatory Use                                                                                       Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
      Judicial Council of California                                CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, std. 3.10
      CM-010(Rev. July 1,2001]                                                                                                                                      www.courts.ca.gov
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                    EXHIBIT 5
                                                                                       Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 47 of 81 Page ID #:47
Electronically FILED by Superior Court of California, County of Los Angeles on 07/21/2022 05:13 PM Sherri R. Carter, Executive Officer/Clerk of Court, by C. Rowe,Deputy Clerk




                                                                                         1 Mara D. Curtis (SBN 268869)
                                                                                           Rafael N. Tumanyan (SBN 295402)
                                                                                         2 Brittany M. Hernandez (SBN 299044)
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                                                                                         7 Attorneys for Defendants
                                                                                           KEURIG DR PEPPER INC. and
                                                                                         8 DR PEPPER/SEVEN UP, INC.

                                                                                         9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                        10                FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                     A limited liability partnership formed in the State of Delaware




                                                                                        11                              SPRING STREET COURTHOUSE

                                                                                        12 JOHN TRUJILLO, individually and on behalf of   Case No. 22STCV16589
                                                                                           all others similarly situated,
    REED SMITH LLP




                                                                                        13                                                [Assigned for all purposes to the Honorable
                                                                                                                   Plaintiffs,            Stuart M. Rice, Department 1]
                                                                                        14
                                                                                                   v.                                     DEFENDANTS KEURIG DR PEPPER INC.
                                                                                        15                                                AND DR PEPPER/SEVEN UP INC.’S
                                                                                           MOTTS LLP, a Delaware limited liability        ANSWER TO PLAINTIFF’S UNVERIFIED
                                                                                        16 company; KEURIG DR PEPPER INC., a              COMPLAINT
                                                                                           Delaware Corporation; DR PEPPER/SEVEN UP
                                                                                        17 INC., a Delaware corporation; and DOES 1 To
                                                                                           50,                                            Complaint Filed:         May 19, 2022
                                                                                        18                                                Trial Date:              None
                                                                                                                   Defendants,
                                                                                        19

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                                                                                                        DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                                ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1          Defendants KEURIG DR PEPPER INC. (“KDP”) and DR PEPPER/SEVEN UP, INC.

                                                                                     2 (“DPSU”) (collectively referred to herein as “Defendants”) hereby answer Plaintiff John Trujillo’s

                                                                                     3 (“Plaintiff”) unverified Complaint (“Complaint”) as follows:

                                                                                     4          1.      Pursuant to California Code of Civil Procedure Section 431.30(d), Defendants deny,

                                                                                     5 generally and specifically, each and every allegation contained in Plaintiff’s unverified Complaint,

                                                                                     6 and deny the Complaint as a whole as it relates to Defendants. Defendants further deny, generally

                                                                                     7 and specifically, that Plaintiff, any putative class member, and/or allegedly aggrieved employee has

                                                                                     8 been, is, or will be injured or damaged in any amount, or is or will be entitled to any recovery or

                                                                                     9 remedy of any type whatsoever, by reason of any act or omission of Defendants or by anyone acting

                                                                                    10 on Defendants’ behalf or at its direction.
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                                                                                    11          2.      Without waiving or excusing any of the burdens of proof and production of evidence

                                                                                    12 as to Plaintiff, any putative class member, and/or the allegedly aggrieved employees, and without
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                                                                                    13 admitting that Defendants have any burden of proof, Defendants allege the following separate and

                                                                                    14 distinct affirmative defenses to each of the purported causes of action set forth in the Complaint:

                                                                                    15                                       AFFIRMATIVE DEFENSES

                                                                                    16                                   FIRST AFFIRMATIVE DEFENSE

                                                                                    17                                          (Failure to State a Claim)

                                                                                    18          1.      Defendants allege, based on information and belief, that the Complaint, and each cause

                                                                                    19 of action for relief set forth therein, fails to state a claim upon which relief may be granted.

                                                                                    20                                  SECOND AFFIRMATIVE DEFENSE

                                                                                    21                                           (Statute of Limitations)

                                                                                    22          2.      Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                    23 thereof, are barred by the applicable statutes of limitation, including, but not limited to, those set forth

                                                                                    24 in California Labor Code Section 203, California Code of Civil Procedure Sections 337, 338, 340 and

                                                                                    25 343, California Business and Professions Code Section 17208, and all other applicable limitations,

                                                                                    26 statutes and requirements.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                                  THIRD AFFIRMATIVE DEFENSE

                                                                                     2                           (Waiver, Estoppel, Consent, Laches, Unclean Hands)

                                                                                     3         3.      Defendants allege, based on information and belief, that Plaintiff’s Complaint, and each

                                                                                     4 purported cause of action alleged therein, is barred, in whole or in part, by the equitable doctrines of

                                                                                     5 waiver, estoppel, consent, unclean hands and/or laches, as a result of, without limitation, Plaintiff, the

                                                                                     6 putative class members, and/or allegedly aggrieved employee’s own acts and/or omissions.

                                                                                     7                                 FOURTH AFFIRMATIVE DEFENSE

                                                                                     8                                           (Failure to Mitigate)

                                                                                     9         4.      Defendants allege, based on information and belief, that Plaintiff, the putative class

                                                                                    10 members, and/or allegedly aggrieved employees have failed to mitigate, minimize, or avoid their
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                                                                                    11 purported damages. Defendants further allege that, to the extent any damages could have been

                                                                                    12 mitigated, minimized, or avoided, such amounts should be deducted from any award of damages.
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                                                                                    13                                  FIFTH AFFIRMATIVE DEFENSE

                                                                                    14                                   (Avoidable Consequences Doctrine)

                                                                                    15         5.      Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                    16 putative class members, and/or allegedly aggrieved employees are barred, in whole or part, by the

                                                                                    17 avoidable consequences doctrine.

                                                                                    18                                  SIXTH AFFIRMATIVE DEFENSE

                                                                                    19                                               (No Standing)

                                                                                    20         6.      Defendants allege, based on information and belief, that Plaintiff lacks standing to sue

                                                                                    21 Defendants on behalf of himself, the putative class, and/or the allegedly aggrieved employees with

                                                                                    22 respect to Plaintiff’s Complaint or portions thereof.

                                                                                    23                                SEVENTH AFFIRMATIVE DEFENSE

                                                                                    24                                           (Good Faith Defense)

                                                                                    25         7.      Defendants allege, based on information and belief, that at all times relevant to

                                                                                    26 Plaintiff’s Complaint, Defendants have good faith defenses, based in law and/or fact, which, if upheld,

                                                                                    27 would preclude any recovery by Plaintiff, the putative class members, and/or allegedly aggrieved
                                                                                    28                                                    -3–
                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 50 of 81 Page ID #:50




                                                                                     1 employees based on the allegations in the Complaint.

                                                                                     2                                EIGHTH AFFIRMATIVE DEFENSE

                                                                                     3                                          (Good Faith Dispute)

                                                                                     4         8.      Although Defendants deny that it owes any amounts to Plaintiff, the putative class

                                                                                     5 members, and/or allegedly aggrieved employees, if it should be determined that amounts are owed,

                                                                                     6 then Defendants allege, based on information and belief, that at all times relevant hereto a reasonable

                                                                                     7 good faith dispute existed as to whether any such amounts were owed to Plaintiff, the putative class

                                                                                     8 members, and/or allegedly aggrieved employees.

                                                                                     9                                 NINTH AFFIRMATIVE DEFENSE

                                                                                    10                                           (Unconstitutional)
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                                                                                    11         9.      Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                    12 thereof, are barred because the applicable California Labor Code provisions and wage orders of the
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                                                                                    13 Industrial Welfare Commission as applied are unconstitutionally vague and ambiguous and, thus, or

                                                                                    14 otherwise violate Defendant’s rights under the United States and California Constitutions as to, among

                                                                                    15 other things, due process of law.

                                                                                    16                                 TENTH AFFIRMATIVE DEFENSE

                                                                                    17                                        (Lack of Injury or Harm)

                                                                                    18         10.     Defendants allege, based on information and belief, that the purported causes of action

                                                                                    19 are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                    20 aggrieved employees did not suffer any actual injury or harm as a result of a knowing and intentional

                                                                                    21 violation or otherwise.

                                                                                    22                              ELEVENTH AFFIRMATIVE DEFENSE

                                                                                    23                                          (Unjust Enrichment)

                                                                                    24         11.     Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                    25 putative class members, and/or allegedly aggrieved employees are barred to the extent that any award

                                                                                    26 in this action is speculative and uncertain or would constitute unjust enrichment.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                               TWELFTH AFFIRMATIVE DEFENSE

                                                                                     2                                           (Multiple Recovery)

                                                                                     3          12.    Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                     4 putative class members, and/or allegedly aggrieved employees are barred in whole or in part to the

                                                                                     5 extent that Plaintiff seek multiple recovery for the same alleged wrong or wrongs.

                                                                                     6                             THIRTEENTH AFFIRMATIVE DEFENSE

                                                                                     7                                                  (Release)

                                                                                     8          13.    Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                     9 thereof, is barred because Plaintiff, the putative class members, and/or allegedly aggrieved employees

                                                                                    10 have released some or all such claims alleged.
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                                                                                    11                             FOURTEENTH AFFIRMATIVE DEFENSE

                                                                                    12                                        (Accord and Satisfaction)
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                                                                                    13          14.    Defendants allege, based on information and belief, that the purported causes of action

                                                                                    14 of Plaintiff, the putative class members, and/or allegedly aggrieved employees are barred, in whole or

                                                                                    15 in part, based on one or more accords and satisfactions between them and Defendants and/or releases

                                                                                    16 given by Plaintiff, the putative class members, and/or allegedly aggrieved employees.

                                                                                    17                              FIFTEENTH AFFIRMATIVE DEFENSE

                                                                                    18                                              (Res Judicata)

                                                                                    19          15.    Defendants allege, based on information and belief, that purported claims of Plaintiff,

                                                                                    20 the putative class members, and/or allegedly aggrieved employees are barred, in whole or in part, by

                                                                                    21 the doctrines of res judicata and/or retraxit.

                                                                                    22                              SIXTEENTH AFFIRMATIVE DEFENSE

                                                                                    23                                              (Safe Harbor)

                                                                                    24          16.    Plaintiff’s claims are barred in whole or in part because of Defendants compliance with

                                                                                    25 all applicable laws, statutes, and regulations, said compliance affording Defendants a safe harbor to

                                                                                    26 any claim under California Business and Professions Code Section 17200, et seq.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
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                                                                                     1                             SEVENTEENTH AFFIRMATIVE DEFENSE

                                                                                     2                                           (Practice Not Unfair)

                                                                                     3          17.     Plaintiff’s claims are barred because Defendants’ business practices were not unfair

                                                                                     4 within the meaning of Business and Professions Code Section 17200. The utility and benefits of

                                                                                     5 Defendants’ conduct outweighed whatever alleged harm or impact it may have had on Plaintiff, the

                                                                                     6 putative class members, and/or allegedly aggrieved employees.

                                                                                     7                              EIGHTEENTH AFFIRMATIVE DEFENSE

                                                                                     8                                  (Clerical Error or Inadvertent Mistake)

                                                                                     9          18.     Although Defendants denies that it violated, or caused to be violated, the California

                                                                                    10 Labor Code or applicable Wage Orders issued by the Industrial Welfare Commission, if it should be
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                                                                                    11 determined that a violation occurred, then Defendants allege, upon information and belief, that the

                                                                                    12 violation was due to clerical error or inadvertent mistake.
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                                                                                    13                              NINETEENTH AFFIRMATIVE DEFENSE

                                                                                    14                                          (Speculative Damages)

                                                                                    15          19.     Plaintiff’s claims for damages are barred because they are speculative and uncertain.

                                                                                    16                              TWENTIETH AFFIRMATIVE DEFENSE

                                                                                    17                                            (De Minimis Time)

                                                                                    18          20.     Defendants allege, based on information and belief, that to the extent Plaintiff, the

                                                                                    19 putative class members, and/or allegedly aggrieved employees were not paid for all hours worked

                                                                                    20 for Defendants, such unpaid time was de minimis and, therefore, not compensable.

                                                                                    21                             TWENTY-FIRST AFFIRMATIVE DEFENSE

                                                                                    22                                                  (Offset)

                                                                                    23          21.     Defendants allege, based on information and belief, that certain amounts sought to be

                                                                                    24 recovered in this action are subject to an offset and, therefore, are barred in whole or in part.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 53 of 81 Page ID #:53




                                                                                     1                            TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                                                     2                                       (No Employment Relationship)

                                                                                     3         22.       Defendants did not employ Plaintiff and hence cannot be held liable for the claims

                                                                                     4 alleged herein.

                                                                                     5                             TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                                                     6                               (Failure to Exhaust Remedies Under the CBA)

                                                                                     7         23.       Defendants allege, based on information and belief, that the purported causes of

                                                                                     8 action of the Complaint fall outside the jurisdiction of this Court and are therefore barred because

                                                                                     9 Plaintiff, the putative class members, and/or allegedly aggrieved employees have failed to timely

                                                                                    10 exhaust the administrative remedies available and procedures set forth in the collective bargaining
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                                                                                    11 agreement that existed at certain times relevant hereto between Defendants and the unions.

                                                                                    12                            TWENTY-FOURTH AFFIRMATIVE DEFENSE
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                                                                                    13                                                (Preemption)

                                                                                    14         24.       Defendants allege, based on information and belief, that the purported causes of

                                                                                    15 action of the Complaint are substantially dependent upon an analysis of the provisions, terms and

                                                                                    16 conditions of a collective bargaining agreement that existed at certain times relevant hereto between

                                                                                    17 Defendants and the unions, and that said purported causes of action are therefore preempted by

                                                                                    18 Section 301 of the Labor Management Relations Act and other applicable provisions of federal law.

                                                                                    19 29 U.S.C. §§ 185(a) and 158(a).

                                                                                    20                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                    21                         (Arbitration Under The Collective Bargaining Agreement)

                                                                                    22         25.       Defendants allege, based on information and belief, that Plaintiff, the putative class

                                                                                    23 members, and/or allegedly aggrieved employees’ claims, or portions thereof, are subject to binding

                                                                                    24 arbitration under the terms of the collective bargaining agreement that existed at all times relevant

                                                                                    25 hereto between Defendants and the unions.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                     2                                (Claims Barred by Labor Code Section 514)

                                                                                     3          26.     Defendants allege, based on information and belief, that the purported causes of

                                                                                     4 action are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                     5 aggrieved employees are exempt from Labor Code Sections 514 and other applicable provisions of

                                                                                     6 law.

                                                                                     7                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                                                                                     8                                              (Unjust Penalties)

                                                                                     9          27.     Defendants allege, based on information and belief, that any award of penalties would

                                                                                    10 be improper as unjust, arbitrary, oppressive or confiscatory.
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                                                                                    11                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                                                                                    12                                        (Penalties Unconstitutional)
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                                                                                    13          28.     Plaintiff’s claims for civil penalties are unconstitutional under the United States and

                                                                                    14 California Constitutional provisions of due process, equal protection and/or the excessive fines

                                                                                    15 clauses.

                                                                                    16                            TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                                                    17                              (Failure to Satisfy Administrative Prerequisites)

                                                                                    18          29.     The Complaint, or portions thereof, fail and/or fall outside the jurisdiction of this

                                                                                    19 Court in that Plaintiff has failed to satisfy the administrative and/or jurisdictional prerequisites

                                                                                    20 mandated by California Labor Code Sections 2698, et seq.

                                                                                    21                               THIRTIETH AFFIRMATIVE DEFENSE

                                                                                    22                                              (Unmanageable)

                                                                                    23          30.     Plaintiff’s claim under the California Private Attorneys General Act is unmanageable

                                                                                    24 because, among other things, proving Plaintiff’s alleged violations of the California Labor Code

                                                                                    25 would require numerous individualized assessments.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
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                                                                                     1                            THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                                                     2                                          (FAAAA Preemption)

                                                                                     3         31.     Defendants allege, based on information and belief, that the Complaint is barred and

                                                                                     4 preempted, in whole or in part, by the provisions of the Federal Aviation Administration

                                                                                     5 Authorization Act, 49 U.S.C. §§ 14501, et seq.

                                                                                     6                           THIRTY-SECOND AFFIRMATIVE DEFENSE

                                                                                     7                                            (Conflict of Laws)

                                                                                     8         32.     Defendants allege, based on information and belief, that the Complaint is barred

                                                                                     9 and/or preempted, in whole or in part to the extent that Plaintiff’s claims are predicated under any

                                                                                    10 law or regulation which conflicts with federal regulation of hours of service, transportation, or
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                                                                                    11 transportation safety including but not limited to the federal Motor Carrier Act and federal

                                                                                    12 Department of Transportation regulations.
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                                                                                    13                            THIRTY-THIRD AFFIRMATIVE DEFENSE

                                                                                    14                                          (FMCSA Preemption)

                                                                                    15         33.     Defendants allege, based on information and belief, that the Complaint, or parts

                                                                                    16 thereof, is barred by the regulations and decisions promulgated by the Federal Motor Carrier Safety

                                                                                    17 Administration.

                                                                                    18                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                                                                                    19                                          (Federal Preemption)

                                                                                    20         34.     Defendants allege, based on information and belief, that the Complaint, or parts

                                                                                    21 thereof, is barred by the Commerce Clause and/or Supremacy Clause of the United States

                                                                                    22 Constitution and/or the regulations promulgated by the Federal Motor Carrier Safety Administration.

                                                                                    23                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                    24                                         (Reservation of Rights)

                                                                                    25         35.      The Complaint is vague, ambiguous, indefinite and uncertain; therefore, Defendants

                                                                                    26 reserve the right to amend or supplement its affirmative defenses asserted herein, and to present

                                                                                    27 evidence supportive of different or additional defenses, upon ascertaining the specific nature of the
                                                                                    28                                                   -9–
                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1 violations alleged.

                                                                                     2                                      ADDITIONAL DEFENSES

                                                                                     3         Defendants currently have insufficient information upon which to form a belief as to whether

                                                                                     4 it may have additional, as yet unstated, defenses beyond those listed above. Defendants therefore

                                                                                     5 reserves the right to assert additional defenses as appropriate.

                                                                                     6         WHEREFORE, Defendants request that this Court dismiss the Complaint with prejudice; that

                                                                                     7 it enter judgment in Defendants’ favor; and that this Court award Defendants their costs and

                                                                                     8 attorneys’ fees incurred in defending this action and such other relief as it deems appropriate.

                                                                                     9
                                                                                         Dated:        July 21, 2022                         REED SMITH LLP
                                                                                    10
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                                                 By:
                                                                                                                                              Brittany M. Hernandez
                                                                                    12                                                        Attorneys for Defendants
REED SMITH LLP




                                                                                                                                              KEURIG DR PEPPER INC. and
                                                                                    13                                                        DR PEPPER/SEVEN UP INC.
                                                                                    14

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                               ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                                         PROOF OF SERVICE

                                                                                     2 CASE NAME:              JOHN TRUJILLO v. MOTTS LLP, et al.

                                                                                     3 CASE NO.:               22STCV16589

                                                                                     4        I am a resident of the State of California, over the age of eighteen years, and not a party to the
                                                                                       within action. My business address is REED SMITH LLP, 355 S. Grand Avenue, Suite 2900, Los
                                                                                     5 Angeles, CA 90071.

                                                                                     6      On July 21, 2022, I served the following document(s) by the method indicated below:
                                                                                     7 DEFENDANTS   KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S ANSWER
                                                                                       TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                     8

                                                                                     9         by placing the document(s) listed above in a sealed envelope with postage thereon fully
                                                                                                prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
                                                                                    10          am readily familiar with the firm’s practice of collection and processing of correspondence
                                                                                                for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
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                                                                                    11          same day with postage thereon fully prepaid in the ordinary course of business.

                                                                                    12
                                                                                                                                                ATTORNEYS FOR PLAINTIFF
REED SMITH LLP




                                                                                         ALAN HARRIS, ESQ.
                                                                                    13   PRIYA MOHAN, ESQ.                                      JOHN TRUJILLO
                                                                                         MIN JI GAL, ESQ.
                                                                                    14   HARRIS & RUBLE
                                                                                    15   655 N. CENTRAL AVENUE, 17th FLOOR
                                                                                         GLENDALE, CA 91203
                                                                                    16   PHONE:        (323) 962-3777
                                                                                         FAX:          (323) 962-3004
                                                                                    17   EMAIL:        harrisa@harrisandruble.com
                                                                                                       pmohan@harrisandruble.com
                                                                                    18
                                                                                                       mgal@harrisandruble.com
                                                                                    19
                                                                                               STATE:
                                                                                    20
                                                                                               I declare under penalty of perjury under the laws of the State of California that
                                                                                    21         the above is true and correct.
                                                                                               Executed on July 21, 2022, at Los Angeles, California.
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                                                                                                                                       BRITTANY M. HERNANDEZ
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                                                                                                                                  PROOF OF SERVICE
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                    EXHIBIT 6
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 59 of 81 Page ID #:59




                                                                                     1 Mara D. Curtis (SBN 268869)
                                                                                       Rafael N. Tumanyan (SBN 295402)
                                                                                     2 Brittany M. Hernandez (SBN 299044)
                                                                                       REED SMITH LLP
                                                                                     3 355 South Grand Avenue, Suite 2900
                                                                                       Los Angeles, CA 90071-1514
                                                                                     4 Telephone: +1 213 457 8000
                                                                                       Facsimile: +1 213 457 8080
                                                                                     5 Email: mcurtis@reedsmith.com
                                                                                                rtumanyan@reedsmith.com
                                                                                     6          bmhernandez@reedsmith.com

                                                                                     7 Attorneys for Defendants
                                                                                       KEURIG DR PEPPER INC. and
                                                                                     8 DR PEPPER/SEVEN UP, INC.

                                                                                     9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                    10                FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                              SPRING STREET COURTHOUSE

                                                                                    12 JOHN TRUJILLO, individually and on behalf of   Case No. 22STCV16589
                                                                                       all others similarly situated,
REED SMITH LLP




                                                                                    13                                                [Assigned for all purposes to the Honorable
                                                                                                               Plaintiffs,            Stuart M. Rice, Department 1]
                                                                                    14
                                                                                               v.                                     DEFENDANTS KEURIG DR PEPPER INC.
                                                                                    15                                                AND DR PEPPER/SEVEN UP INC.’S
                                                                                       MOTTS LLP, a Delaware limited liability        AMENDED ANSWER TO PLAINTIFF’S
                                                                                    16 company; KEURIG DR PEPPER INC., a              UNVERIFIED COMPLAINT
                                                                                       Delaware Corporation; DR PEPPER/SEVEN UP
                                                                                    17 INC., a Delaware corporation; and DOES 1 To
                                                                                       50,                                            Complaint Filed:         May 19, 2022
                                                                                    18                                                Trial Date:              None
                                                                                                               Defendants,
                                                                                    19

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                                                                                                    DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                        AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 60 of 81 Page ID #:60




                                                                                     1          Defendants KEURIG DR PEPPER INC. (“KDP”) and DR PEPPER/SEVEN UP, INC.

                                                                                     2 (“DPSU”) (collectively referred to herein as “Defendants”) hereby answer Plaintiff John Trujillo’s

                                                                                     3 (“Plaintiff”) unverified Complaint (“Complaint”) as follows:

                                                                                     4          1.      Pursuant to California Code of Civil Procedure Section 431.30(d), Defendants deny,

                                                                                     5 generally and specifically, each and every allegation contained in Plaintiff’s unverified Complaint,

                                                                                     6 and deny the Complaint as a whole as it relates to Defendants. Defendants further deny, generally

                                                                                     7 and specifically, that Plaintiff, any putative class member, and/or allegedly aggrieved employee has

                                                                                     8 been, is, or will be injured or damaged in any amount, or is or will be entitled to any recovery or

                                                                                     9 remedy of any type whatsoever, by reason of any act or omission of Defendants or by anyone acting

                                                                                    10 on Defendants’ behalf or at its direction.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11          2.      Without waiving or excusing any of the burdens of proof and production of evidence

                                                                                    12 as to Plaintiff, any putative class member, and/or the allegedly aggrieved employees, and without
REED SMITH LLP




                                                                                    13 admitting that Defendants have any burden of proof, Defendants allege the following separate and

                                                                                    14 distinct affirmative defenses to each of the purported causes of action set forth in the Complaint:

                                                                                    15                                       AFFIRMATIVE DEFENSES

                                                                                    16                                   FIRST AFFIRMATIVE DEFENSE

                                                                                    17                                          (Failure to State a Claim)

                                                                                    18          1.      Defendants allege, based on information and belief, that the Complaint, and each cause

                                                                                    19 of action for relief set forth therein, fails to state a claim upon which relief may be granted.

                                                                                    20                                  SECOND AFFIRMATIVE DEFENSE

                                                                                    21                                           (Statute of Limitations)

                                                                                    22          2.      Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                    23 thereof, are barred by the applicable statutes of limitation, including, but not limited to, those set forth

                                                                                    24 in California Labor Code Section 203, California Code of Civil Procedure Sections 337, 338, 340 and

                                                                                    25 343, California Business and Professions Code Section 17208, and all other applicable limitations,

                                                                                    26 statutes and requirements.
                                                                                    27

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 61 of 81 Page ID #:61




                                                                                     1                                  THIRD AFFIRMATIVE DEFENSE

                                                                                     2                           (Waiver, Estoppel, Consent, Laches, Unclean Hands)

                                                                                     3         3.      Defendants allege, based on information and belief, that Plaintiff’s Complaint, and each

                                                                                     4 purported cause of action alleged therein, is barred, in whole or in part, by the equitable doctrines of

                                                                                     5 waiver, estoppel, consent, unclean hands and/or laches, as a result of, without limitation, Plaintiff, the

                                                                                     6 putative class members, and/or allegedly aggrieved employee’s own acts and/or omissions.

                                                                                     7                                 FOURTH AFFIRMATIVE DEFENSE

                                                                                     8                                           (Failure to Mitigate)

                                                                                     9         4.      Defendants allege, based on information and belief, that Plaintiff, the putative class

                                                                                    10 members, and/or allegedly aggrieved employees have failed to mitigate, minimize, or avoid their
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 purported damages. Defendants further allege that, to the extent any damages could have been

                                                                                    12 mitigated, minimized, or avoided, such amounts should be deducted from any award of damages.
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                                                                                    13                                  FIFTH AFFIRMATIVE DEFENSE

                                                                                    14                                   (Avoidable Consequences Doctrine)

                                                                                    15         5.      Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                    16 putative class members, and/or allegedly aggrieved employees are barred, in whole or part, by the

                                                                                    17 avoidable consequences doctrine.

                                                                                    18                                  SIXTH AFFIRMATIVE DEFENSE

                                                                                    19                                               (No Standing)

                                                                                    20         6.      Defendants allege, based on information and belief, that Plaintiff lacks standing to sue

                                                                                    21 Defendants on behalf of himself, the putative class, and/or the allegedly aggrieved employees with

                                                                                    22 respect to Plaintiff’s Complaint or portions thereof.

                                                                                    23                                SEVENTH AFFIRMATIVE DEFENSE

                                                                                    24                                           (Good Faith Defense)

                                                                                    25         7.      Defendants allege, based on information and belief, that at all times relevant to

                                                                                    26 Plaintiff’s Complaint, Defendants have good faith defenses, based in law and/or fact, which, if upheld,
                                                                                    27 would preclude any recovery by Plaintiff, the putative class members, and/or allegedly aggrieved

                                                                                    28                                                    -3–
                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 62 of 81 Page ID #:62




                                                                                     1 employees based on the allegations in the Complaint.

                                                                                     2                                EIGHTH AFFIRMATIVE DEFENSE

                                                                                     3                                          (Good Faith Dispute)

                                                                                     4         8.      Although Defendants deny that it owes any amounts to Plaintiff, the putative class

                                                                                     5 members, and/or allegedly aggrieved employees, if it should be determined that amounts are owed,

                                                                                     6 then Defendants allege, based on information and belief, that at all times relevant hereto a reasonable

                                                                                     7 good faith dispute existed as to whether any such amounts were owed to Plaintiff, the putative class

                                                                                     8 members, and/or allegedly aggrieved employees.

                                                                                     9                                 NINTH AFFIRMATIVE DEFENSE

                                                                                    10                                           (Unconstitutional)
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                                                                                    11         9.      Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                    12 thereof, are barred because the applicable California Labor Code provisions and wage orders of the
REED SMITH LLP




                                                                                    13 Industrial Welfare Commission as applied are unconstitutionally vague and ambiguous and, thus, or

                                                                                    14 otherwise violate Defendant’s rights under the United States and California Constitutions as to, among

                                                                                    15 other things, due process of law.

                                                                                    16                                 TENTH AFFIRMATIVE DEFENSE

                                                                                    17                                        (Lack of Injury or Harm)

                                                                                    18         10.     Defendants allege, based on information and belief, that the purported causes of action

                                                                                    19 are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                    20 aggrieved employees did not suffer any actual injury or harm as a result of a knowing and intentional

                                                                                    21 violation or otherwise.

                                                                                    22                              ELEVENTH AFFIRMATIVE DEFENSE

                                                                                    23                                          (Unjust Enrichment)

                                                                                    24         11.     Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                    25 putative class members, and/or allegedly aggrieved employees are barred to the extent that any award

                                                                                    26 in this action is speculative and uncertain or would constitute unjust enrichment.
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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                               TWELFTH AFFIRMATIVE DEFENSE

                                                                                     2                                           (Multiple Recovery)

                                                                                     3          12.    Defendants allege, based on information and belief, that the claims of Plaintiff, the

                                                                                     4 putative class members, and/or allegedly aggrieved employees are barred in whole or in part to the

                                                                                     5 extent that Plaintiff seek multiple recovery for the same alleged wrong or wrongs.

                                                                                     6                             THIRTEENTH AFFIRMATIVE DEFENSE

                                                                                     7                                                  (Release)

                                                                                     8          13.    Defendants allege, based on information and belief, that the Complaint, or portions

                                                                                     9 thereof, is barred because Plaintiff, the putative class members, and/or allegedly aggrieved employees

                                                                                    10 have released some or all such claims alleged.
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                                                                                    11                             FOURTEENTH AFFIRMATIVE DEFENSE

                                                                                    12                                        (Accord and Satisfaction)
REED SMITH LLP




                                                                                    13          14.    Defendants allege, based on information and belief, that the purported causes of action

                                                                                    14 of Plaintiff, the putative class members, and/or allegedly aggrieved employees are barred, in whole or

                                                                                    15 in part, based on one or more accords and satisfactions between them and Defendants and/or releases

                                                                                    16 given by Plaintiff, the putative class members, and/or allegedly aggrieved employees.

                                                                                    17                              FIFTEENTH AFFIRMATIVE DEFENSE

                                                                                    18                                              (Res Judicata)

                                                                                    19          15.    Defendants allege, based on information and belief, that purported claims of Plaintiff,

                                                                                    20 the putative class members, and/or allegedly aggrieved employees are barred, in whole or in part, by

                                                                                    21 the doctrines of res judicata and/or retraxit.

                                                                                    22                              SIXTEENTH AFFIRMATIVE DEFENSE

                                                                                    23                                              (Safe Harbor)

                                                                                    24          16.    Plaintiff’s claims are barred in whole or in part because of Defendants compliance with

                                                                                    25 all applicable laws, statutes, and regulations, said compliance affording Defendants a safe harbor to

                                                                                    26 any claim under California Business and Professions Code Section 17200, et seq.
                                                                                    27

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             SEVENTEENTH AFFIRMATIVE DEFENSE

                                                                                     2                                           (Practice Not Unfair)

                                                                                     3          17.     Plaintiff’s claims are barred because Defendants’ business practices were not unfair

                                                                                     4 within the meaning of Business and Professions Code Section 17200. The utility and benefits of

                                                                                     5 Defendants’ conduct outweighed whatever alleged harm or impact it may have had on Plaintiff, the

                                                                                     6 putative class members, and/or allegedly aggrieved employees.

                                                                                     7                              EIGHTEENTH AFFIRMATIVE DEFENSE

                                                                                     8                                  (Clerical Error or Inadvertent Mistake)

                                                                                     9          18.     Although Defendants denies that it violated, or caused to be violated, the California

                                                                                    10 Labor Code or applicable Wage Orders issued by the Industrial Welfare Commission, if it should be
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 determined that a violation occurred, then Defendants allege, upon information and belief, that the

                                                                                    12 violation was due to clerical error or inadvertent mistake.
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                                                                                    13                              NINETEENTH AFFIRMATIVE DEFENSE

                                                                                    14                                          (Speculative Damages)

                                                                                    15          19.     Plaintiff’s claims for damages are barred because they are speculative and uncertain.

                                                                                    16                              TWENTIETH AFFIRMATIVE DEFENSE

                                                                                    17                                            (De Minimis Time)

                                                                                    18          20.     Defendants allege, based on information and belief, that to the extent Plaintiff, the

                                                                                    19 putative class members, and/or allegedly aggrieved employees were not paid for all hours worked

                                                                                    20 for Defendants, such unpaid time was de minimis and, therefore, not compensable.

                                                                                    21                             TWENTY-FIRST AFFIRMATIVE DEFENSE

                                                                                    22                                                  (Offset)

                                                                                    23          21.     Defendants allege, based on information and belief, that certain amounts sought to be

                                                                                    24 recovered in this action are subject to an offset and, therefore, are barred in whole or in part.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 65 of 81 Page ID #:65




                                                                                     1                            TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                                                     2                                       (No Employment Relationship)

                                                                                     3         22.       Defendants did not employ Plaintiff and hence cannot be held liable for the claims

                                                                                     4 alleged herein.

                                                                                     5                             TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                                                     6                               (Failure to Exhaust Remedies Under the CBA)

                                                                                     7         23.       Defendants allege, based on information and belief, that the purported causes of

                                                                                     8 action of the Complaint fall outside the jurisdiction of this Court and are therefore barred because

                                                                                     9 Plaintiff, the putative class members, and/or allegedly aggrieved employees have failed to timely

                                                                                    10 exhaust the administrative remedies available and procedures set forth in the collective bargaining
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 agreement that existed at certain times relevant hereto between Defendants and the unions.

                                                                                    12                            TWENTY-FOURTH AFFIRMATIVE DEFENSE
REED SMITH LLP




                                                                                    13                                                (Preemption)

                                                                                    14         24.       Defendants allege, based on information and belief, that the purported causes of

                                                                                    15 action of the Complaint are substantially dependent upon an analysis of the provisions, terms and

                                                                                    16 conditions of a collective bargaining agreement that existed at certain times relevant hereto between

                                                                                    17 Defendants and the unions, and that said purported causes of action are therefore preempted by

                                                                                    18 Section 301 of the Labor Management Relations Act and other applicable provisions of federal law.

                                                                                    19 29 U.S.C. §§ 185(a) and 158(a).

                                                                                    20                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                    21                         (Arbitration Under The Collective Bargaining Agreement)

                                                                                    22         25.       Defendants allege, based on information and belief, that Plaintiff, the putative class

                                                                                    23 members, and/or allegedly aggrieved employees’ claims, or portions thereof, are subject to binding

                                                                                    24 arbitration under the terms of the collective bargaining agreement that existed at all times relevant

                                                                                    25 hereto between Defendants and the unions.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                     2                                (Claims Barred by Labor Code Section 514)

                                                                                     3          26.     Defendants allege, based on information and belief, that the purported causes of

                                                                                     4 action are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                     5 aggrieved employees are exempt from Labor Code Sections 514 and other applicable provisions of

                                                                                     6 law.

                                                                                     7                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                                                                                     8                                              (Unjust Penalties)

                                                                                     9          27.     Defendants allege, based on information and belief, that any award of penalties would

                                                                                    10 be improper as unjust, arbitrary, oppressive or confiscatory.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                           TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                                                                                    12                                        (Penalties Unconstitutional)
REED SMITH LLP




                                                                                    13          28.     Plaintiff’s claims for civil penalties are unconstitutional under the United States and

                                                                                    14 California Constitutional provisions of due process, equal protection and/or the excessive fines

                                                                                    15 clauses.

                                                                                    16                            TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                                                    17                              (Failure to Satisfy Administrative Prerequisites)

                                                                                    18          29.     The Complaint, or portions thereof, fail and/or fall outside the jurisdiction of this

                                                                                    19 Court in that Plaintiff has failed to satisfy the administrative and/or jurisdictional prerequisites

                                                                                    20 mandated by California Labor Code Sections 2698, et seq.

                                                                                    21                               THIRTIETH AFFIRMATIVE DEFENSE

                                                                                    22                                              (Unmanageable)

                                                                                    23          30.     Plaintiff’s claim under the California Private Attorneys General Act is unmanageable

                                                                                    24 because, among other things, proving Plaintiff’s alleged violations of the California Labor Code

                                                                                    25 would require numerous individualized assessments.

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                                                     2                                          (FAAAA Preemption)

                                                                                     3          31.    Defendants allege, based on information and belief, that the Complaint is barred and

                                                                                     4 preempted, in whole or in part, by the provisions of the Federal Aviation Administration

                                                                                     5 Authorization Act, 49 U.S.C. §§ 14501, et seq.

                                                                                     6                           THIRTY-SECOND AFFIRMATIVE DEFENSE

                                                                                     7                                            (Conflict of Laws)

                                                                                     8          32.    Defendants allege, based on information and belief, that the Complaint is barred

                                                                                     9 and/or preempted, in whole or in part to the extent that Plaintiff’s claims are predicated under any

                                                                                    10 law or regulation which conflicts with federal regulation of hours of service, transportation, or
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 transportation safety including but not limited to the federal Motor Carrier Act and federal

                                                                                    12 Department of Transportation regulations.
REED SMITH LLP




                                                                                    13                            THIRTY-THIRD AFFIRMATIVE DEFENSE

                                                                                    14                                          (FMCSA Preemption)

                                                                                    15          33.    Defendants allege, based on information and belief, that the Complaint, or parts

                                                                                    16 thereof, is barred by the regulations and decisions promulgated by the Federal Motor Carrier Safety

                                                                                    17 Administration.

                                                                                    18                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                                                                                    19                                           (Federal Preemption)

                                                                                    20          34.    Defendants allege, based on information and belief, that the Complaint, or parts

                                                                                    21 thereof, is barred by the Commerce Clause and/or Supremacy Clause of the United States

                                                                                    22 Constitution and/or the regulations promulgated by the Federal Motor Carrier Safety Administration.

                                                                                    23                             THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                    24                                               (Arbitration)

                                                                                    25          35.    Defendants allege, based on information and belief, that Plaintiff, the putative class

                                                                                    26 members, and/or allegedly aggrieved employees’ claims, or portions thereof, are barred in whole or
                                                                                    27 in part, because Plaintiff, the putative class or allegedly aggrieved employees, or certain of them, are

                                                                                    28                                                   -9–
                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1 contractually bound to arbitrate any grievance and/or dispute pursuant to a mandatory and binding

                                                                                     2 arbitration agreement with Defendants and/or their employer.

                                                                                     3                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                     4                                          (Reservation of Rights)

                                                                                     5          36.     The Complaint is vague, ambiguous, indefinite and uncertain; therefore, Defendants

                                                                                     6 reserve the right to amend or supplement its affirmative defenses asserted herein, and to present

                                                                                     7 evidence supportive of different or additional defenses, upon ascertaining the specific nature of the

                                                                                     8 violations alleged.

                                                                                     9                                      ADDITIONAL DEFENSES

                                                                                    10          Defendants currently have insufficient information upon which to form a belief as to whether
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 it may have additional, as yet unstated, defenses beyond those listed above. Defendants therefore

                                                                                    12 reserves the right to assert additional defenses as appropriate.
REED SMITH LLP




                                                                                    13          WHEREFORE, Defendants request that this Court dismiss the Complaint with prejudice; that

                                                                                    14 it enter judgment in Defendants’ favor; and that this Court award Defendants their costs and

                                                                                    15 attorneys’ fees incurred in defending this action and such other relief as it deems appropriate.

                                                                                    16
                                                                                         Dated:        July 22, 2022                         REED SMITH LLP
                                                                                    17

                                                                                    18                                                 By:
                                                                                                                                              Brittany M. Hernandez
                                                                                    19                                                        Attorneys for Defendants
                                                                                                                                              KEURIG DR PEPPER INC. and
                                                                                    20                                                        DR PEPPER/SEVEN UP INC.
                                                                                    21

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                                                                                                       DEFENDANTS KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                                           AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 69 of 81 Page ID #:69




                                                                                     1                                         PROOF OF SERVICE

                                                                                     2 CASE NAME:              JOHN TRUJILLO v. MOTTS LLP, et al.

                                                                                     3 CASE NO.:               22STCV16589

                                                                                     4        I am a resident of the State of California, over the age of eighteen years, and not a party to the
                                                                                       within action. My business address is REED SMITH LLP, 355 S. Grand Avenue, Suite 2900, Los
                                                                                     5 Angeles, CA 90071.

                                                                                     6     On July 22, 2022, I served the following document(s) by the method indicated below:
                                                                                     7 DEFENDANTS   KEURIG DR PEPPER INC. AND DR PEPPER/SEVEN UP, INC.’S
                                                                                       AMENDED ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                     8

                                                                                     9         by placing the document(s) listed above in a sealed envelope with postage thereon fully
                                                                                                prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
                                                                                    10          am readily familiar with the firm’s practice of collection and processing of correspondence
                                                                                                for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
                 A limited liability partnership formed in the State of Delaware




                                                                                    11          same day with postage thereon fully prepaid in the ordinary course of business.

                                                                                    12
                                                                                                                                                ATTORNEYS FOR PLAINTIFF
REED SMITH LLP




                                                                                         ALAN HARRIS, ESQ.
                                                                                    13   PRIYA MOHAN, ESQ.                                      JOHN TRUJILLO
                                                                                         MIN JI GAL, ESQ.
                                                                                    14   HARRIS & RUBLE
                                                                                    15   655 N. CENTRAL AVENUE, 17th FLOOR
                                                                                         GLENDALE, CA 91203
                                                                                    16   PHONE:        (323) 962-3777
                                                                                         FAX:          (323) 962-3004
                                                                                    17   EMAIL:        harrisa@harrisandruble.com
                                                                                                       pmohan@harrisandruble.com
                                                                                    18
                                                                                                       mgal@harrisandruble.com
                                                                                    19
                                                                                               STATE:
                                                                                    20
                                                                                               I declare under penalty of perjury under the laws of the State of California that
                                                                                    21         the above is true and correct.
                                                                                               Executed on July 22, 2022, at Los Angeles, California.
                                                                                    22

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                                                                                                                                       BRITTANY M. HERNANDEZ
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                                                                                                                                  PROOF OF SERVICE
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                    EXHIBIT 7
                                                                                   Case 2:22-cv-05103-SVW-AGR Document 1 Filed 07/22/22 Page 71 of 81 Page ID #:71




                                                                                     1 Mara D. Curtis (SBN 268869)
                                                                                       Rafael N. Tumanyan (SBN 295402)
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                                                                                     7 Attorneys for Defendants MOTTS LLP,
                                                                                       KEURIG DR PEPPER INC. and
                                                                                     8 DR PEPPER/SEVEN UP, INC.

                                                                                     9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                    10                FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                              SPRING STREET COURTHOUSE

                                                                                    12 JOHN TRUJILLO, individually and on behalf of   Case No. 22STCV16589
                                                                                       all others similarly situated,
REED SMITH LLP




                                                                                    13                                                [Assigned for all purposes to the Honorable
                                                                                                               Plaintiffs,            Stuart M. Rice, Department 1]
                                                                                    14
                                                                                               v.                                     DEFENDANT MOTTS LLP’S ANSWER TO
                                                                                    15                                                PLAINTIFF’S UNVERIFIED COMPLAINT
                                                                                       MOTTS LLP, a Delaware limited liability
                                                                                    16 company; KEURIG DR PEPPER INC., a
                                                                                       Delaware Corporation; DR PEPPER/SEVEN UP       Complaint Filed:         May 19, 2022
                                                                                    17 INC., a Delaware corporation; and DOES 1 To    Trial Date:              None
                                                                                       50,
                                                                                    18
                                                                                                               Defendants,
                                                                                    19

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                                                                                                  DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1          Defendant MOTTS LLP (“Defendant”) hereby answers Plaintiff John Trujillo’s (“Plaintiff”)

                                                                                     2 unverified Complaint (“Complaint”) as follows:

                                                                                     3          1.      Pursuant to California Code of Civil Procedure Section 431.30(d), Defendant denies,

                                                                                     4 generally and specifically, each and every allegation contained in Plaintiff’s unverified Complaint,

                                                                                     5 and denies the Complaint as a whole as it relates to Defendant. Defendant further denies, generally

                                                                                     6 and specifically, that Plaintiff, any putative class member, and/or allegedly aggrieved employee has

                                                                                     7 been, is, or will be injured or damaged in any amount, or is or will be entitled to any recovery or

                                                                                     8 remedy of any type whatsoever, by reason of any act or omission of Defendant or by anyone acting

                                                                                     9 on Defendant’s behalf or at its direction.

                                                                                    10          2.      Without waiving or excusing any of the burdens of proof and production of evidence
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 as to Plaintiff, any putative class member, and/or the allegedly aggrieved employees, and without

                                                                                    12 admitting that Defendant has any burden of proof, Defendant alleges the following separate and
REED SMITH LLP




                                                                                    13 distinct affirmative defenses to each of the purported causes of action set forth in the Complaint:

                                                                                    14                                       AFFIRMATIVE DEFENSES

                                                                                    15                                   FIRST AFFIRMATIVE DEFENSE

                                                                                    16                                          (Failure to State a Claim)

                                                                                    17          1.      Defendant alleges, based on information and belief, that the Complaint, and each cause

                                                                                    18 of action for relief set forth therein, fails to state a claim upon which relief may be granted.

                                                                                    19                                  SECOND AFFIRMATIVE DEFENSE

                                                                                    20                                           (Statute of Limitations)

                                                                                    21          2.      Defendant alleges, based on information and belief, that the Complaint, or portions

                                                                                    22 thereof, are barred by the applicable statutes of limitation, including, but not limited to, those set forth

                                                                                    23 in California Labor Code Section 203, California Code of Civil Procedure Sections 337, 338, 340 and

                                                                                    24 343, California Business and Professions Code Section 17208, and all other applicable limitations,

                                                                                    25 statutes and requirements.

                                                                                    26                                   THIRD AFFIRMATIVE DEFENSE

                                                                                    27                            (Waiver, Estoppel, Consent, Laches, Unclean Hands)

                                                                                    28          3.      Defendant alleges, based on information and belief, that Plaintiff’s Complaint, and each

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                                                                                                     DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1 purported cause of action alleged therein, is barred, in whole or in part, by the equitable doctrines of

                                                                                     2 waiver, estoppel, consent, unclean hands and/or laches, as a result of, without limitation, Plaintiff, the

                                                                                     3 putative class members, and/or allegedly aggrieved employee’s own acts and/or omissions.

                                                                                     4                                 FOURTH AFFIRMATIVE DEFENSE

                                                                                     5                                           (Failure to Mitigate)

                                                                                     6         4.      Defendant alleges, based on information and belief, that Plaintiff, the putative class

                                                                                     7 members, and/or allegedly aggrieved employees have failed to mitigate, minimize, or avoid their

                                                                                     8 purported damages. Defendant further alleges that, to the extent any damages could have been

                                                                                     9 mitigated, minimized, or avoided, such amounts should be deducted from any award of damages.

                                                                                    10                                  FIFTH AFFIRMATIVE DEFENSE
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                                                                                    11                                   (Avoidable Consequences Doctrine)

                                                                                    12         5.      Defendant alleges, based on information and belief, that the claims of Plaintiff, the
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                                                                                    13 putative class members, and/or allegedly aggrieved employees are barred, in whole or part, by the

                                                                                    14 avoidable consequences doctrine.

                                                                                    15                                  SIXTH AFFIRMATIVE DEFENSE

                                                                                    16                                               (No Standing)

                                                                                    17         6.      Defendant alleges, based on information and belief, that Plaintiff lacks standing to sue

                                                                                    18 Defendant on behalf of himself, the putative class, and/or the allegedly aggrieved employees with

                                                                                    19 respect to Plaintiff’s Complaint or portions thereof.

                                                                                    20                                SEVENTH AFFIRMATIVE DEFENSE

                                                                                    21                                           (Good Faith Defense)

                                                                                    22         7.      Defendant alleges, based on information and belief, that at all times relevant to

                                                                                    23 Plaintiff’s Complaint, Defendant has good faith defenses, based in law and/or fact, which, if upheld,

                                                                                    24 would preclude any recovery by Plaintiff, the putative class members, and/or allegedly aggrieved

                                                                                    25 employees based on the allegations in the Complaint.

                                                                                    26                                 EIGHTH AFFIRMATIVE DEFENSE

                                                                                    27                                           (Good Faith Dispute)

                                                                                    28         8.      Although Defendant denies that it owes any amounts to Plaintiff, the putative class

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                                                                                     1 members, and/or allegedly aggrieved employees, if it should be determined that amounts are owed,

                                                                                     2 then Defendant alleges, based on information and belief, that at all times relevant hereto a reasonable

                                                                                     3 good faith dispute existed as to whether any such amounts were owed to Plaintiff, the putative class

                                                                                     4 members, and/or allegedly aggrieved employees.

                                                                                     5                                 NINTH AFFIRMATIVE DEFENSE

                                                                                     6                                           (Unconstitutional)

                                                                                     7         9.      Defendant alleges, based on information and belief, that the Complaint, or portions

                                                                                     8 thereof, are barred because the applicable California Labor Code provisions and wage orders of the

                                                                                     9 Industrial Welfare Commission as applied are unconstitutionally vague and ambiguous and, thus, or

                                                                                    10 otherwise violate Defendant’s rights under the United States and California Constitutions as to, among
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 other things, due process of law.

                                                                                    12                                 TENTH AFFIRMATIVE DEFENSE
REED SMITH LLP




                                                                                    13                                        (Lack of Injury or Harm)

                                                                                    14         10.     Defendant alleges, based on information and belief, that the purported causes of action

                                                                                    15 are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                    16 aggrieved employees did not suffer any actual injury or harm as a result of a knowing and intentional

                                                                                    17 violation or otherwise.

                                                                                    18                              ELEVENTH AFFIRMATIVE DEFENSE

                                                                                    19                                          (Unjust Enrichment)

                                                                                    20         11.     Defendant alleges, based on information and belief, that the claims of Plaintiff, the

                                                                                    21 putative class members, and/or allegedly aggrieved employees are barred to the extent that any award

                                                                                    22 in this action is speculative and uncertain or would constitute unjust enrichment.

                                                                                    23                               TWELFTH AFFIRMATIVE DEFENSE

                                                                                    24                                          (Multiple Recovery)

                                                                                    25         12.     Defendant alleges, based on information and belief, that the claims of Plaintiff, the

                                                                                    26 putative class members, and/or allegedly aggrieved employees are barred in whole or in part to the

                                                                                    27 extent that Plaintiff seek multiple recovery for the same alleged wrong or wrongs.
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                                                                                                     DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             THIRTEENTH AFFIRMATIVE DEFENSE

                                                                                     2                                                  (Release)

                                                                                     3          13.     Defendant alleges, based on information and belief, that the Complaint, or portions

                                                                                     4 thereof, is barred because Plaintiff, the putative class members, and/or allegedly aggrieved employees

                                                                                     5 have released some or all such claims alleged.

                                                                                     6                             FOURTEENTH AFFIRMATIVE DEFENSE

                                                                                     7                                        (Accord and Satisfaction)

                                                                                     8          14.     Defendant alleges, based on information and belief, that the purported causes of action

                                                                                     9 of Plaintiff, the putative class members, and/or allegedly aggrieved employees are barred, in whole or

                                                                                    10 in part, based on one or more accords and satisfactions between them and Defendant and/or releases
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 given by Plaintiff, the putative class members, and/or allegedly aggrieved employees.

                                                                                    12                               FIFTEENTH AFFIRMATIVE DEFENSE
REED SMITH LLP




                                                                                    13                                              (Res Judicata)

                                                                                    14          15.     Defendant alleges, based on information and belief, that purported claims of Plaintiff,

                                                                                    15 the putative class members, and/or allegedly aggrieved employees are barred, in whole or in part, by

                                                                                    16 the doctrines of res judicata and/or retraxit.

                                                                                    17                               SIXTEENTH AFFIRMATIVE DEFENSE

                                                                                    18                                              (Safe Harbor)

                                                                                    19          16.     Plaintiff’s claims are barred in whole or in part because of Defendant’s compliance

                                                                                    20 with all applicable laws, statutes, and regulations, said compliance affording Defendant a safe harbor

                                                                                    21 to any claim under California Business and Professions Code Section 17200, et seq.

                                                                                    22                            SEVENTEENTH AFFIRMATIVE DEFENSE

                                                                                    23                                           (Practice Not Unfair)

                                                                                    24          17.     Plaintiff’s claims are barred because Defendant’s business practices were not unfair

                                                                                    25 within the meaning of Business and Professions Code Section 17200. The utility and benefits of

                                                                                    26 Defendant’s conduct outweighed whatever alleged harm or impact it may have had on Plaintiff, the

                                                                                    27 putative class members, and/or allegedly aggrieved employees.
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                                                                                                      DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                              EIGHTEENTH AFFIRMATIVE DEFENSE

                                                                                     2                                  (Clerical Error or Inadvertent Mistake)

                                                                                     3          18.     Although Defendant denies that it violated, or caused to be violated, the California

                                                                                     4 Labor Code or applicable Wage Orders issued by the Industrial Welfare Commission, if it should be

                                                                                     5 determined that a violation occurred, then Defendant alleges, upon information and belief, that the

                                                                                     6 violation was due to clerical error or inadvertent mistake.

                                                                                     7                              NINETEENTH AFFIRMATIVE DEFENSE

                                                                                     8                                          (Speculative Damages)

                                                                                     9          19.     Plaintiff’s claims for damages are barred because they are speculative and uncertain.

                                                                                    10                              TWENTIETH AFFIRMATIVE DEFENSE
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                                            (De Minimis Time)

                                                                                    12          20.     Defendant alleges, based on information and belief, that to the extent Plaintiff, the
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                                                                                    13 putative class members, and/or allegedly aggrieved employees were not paid for all hours worked

                                                                                    14 for Defendant, such unpaid time was de minimis and, therefore, not compensable.

                                                                                    15                             TWENTY-FIRST AFFIRMATIVE DEFENSE

                                                                                    16                                                  (Offset)

                                                                                    17          21.     Defendant alleges, based on information and belief, that certain amounts sought to be

                                                                                    18 recovered in this action are subject to an offset and, therefore, are barred in whole or in part.

                                                                                    19                           TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                                                    20                              (Failure to Exhaust Remedies Under the CBA)

                                                                                    21          22.     Defendant alleges, based on information and belief, that the purported causes of

                                                                                    22 action of the Complaint fall outside the jurisdiction of this Court and are therefore barred because

                                                                                    23 Plaintiff, the putative class members, and/or allegedly aggrieved employees have failed to timely

                                                                                    24 exhaust the administrative remedies available and procedures set forth in the collective bargaining

                                                                                    25 agreement that existed at certain times relevant hereto between Defendant and the unions.

                                                                                    26                            TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                                                    27                                                (Preemption)

                                                                                    28          23.     Defendant alleges, based on information and belief, that the purported causes of

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                                                                                                      DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1 action of the Complaint are substantially dependent upon an analysis of the provisions, terms and

                                                                                     2 conditions of a collective bargaining agreement that existed at certain times relevant hereto between

                                                                                     3 Defendant and the unions, and that said purported causes of action are therefore preempted by

                                                                                     4 Section 301 of the Labor Management Relations Act and other applicable provisions of federal law.

                                                                                     5 29 U.S.C. §§ 185(a) and 158(a).

                                                                                     6                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

                                                                                     7                        (Arbitration Under The Collective Bargaining Agreement)

                                                                                     8         24.     Defendant alleges, based on information and belief, that Plaintiff, the putative class

                                                                                     9 members, and/or allegedly aggrieved employees’ claims, or portions thereof, are subject to binding

                                                                                    10 arbitration under the terms of the collective bargaining agreement that existed at all times relevant
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                                                                                    11 hereto between Defendant and the unions.

                                                                                    12                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
REED SMITH LLP




                                                                                    13                               (Claims Barred by Labor Code Section 514)

                                                                                    14         25.     Defendant alleges, based on information and belief, that the purported causes of

                                                                                    15 action are barred, in whole or in part, because Plaintiff, the putative class members, and/or allegedly

                                                                                    16 aggrieved employees are exempt from Labor Code Sections 514 and other applicable provisions of

                                                                                    17 law.

                                                                                    18                            TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                    19                                            (Unjust Penalties)

                                                                                    20         26.     Defendant alleges, based on information and belief, that any award of penalties would

                                                                                    21 be improper as unjust, arbitrary, oppressive or confiscatory.

                                                                                    22                         TWENTY- SEVENTH AFFIRMATIVE DEFENSE

                                                                                    23                                       (Penalties Unconstitutional)

                                                                                    24         27.     Plaintiff’s claims for civil penalties are unconstitutional under the United States and

                                                                                    25 California Constitutional provisions of due process, equal protection and/or the excessive fines

                                                                                    26 clauses.

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                                                                                                     DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                           TWENTY- EIGHTH AFFIRMATIVE DEFENSE

                                                                                     2                              (Failure to Satisfy Administrative Prerequisites)

                                                                                     3          28.     The Complaint, or portions thereof, fail and/or fall outside the jurisdiction of this

                                                                                     4 Court in that Plaintiff has failed to satisfy the administrative and/or jurisdictional prerequisites

                                                                                     5 mandated by California Labor Code Sections 2698, et seq.

                                                                                     6                            TWENTY- NINTH AFFIRMATIVE DEFENSE

                                                                                     7                                              (Unmanageable)

                                                                                     8          29.     Plaintiff’s claim under the California Private Attorneys General Act is unmanageable

                                                                                     9 because, among other things, proving Plaintiff’s alleged violations of the California Labor Code

                                                                                    10 would require numerous individualized assessments.
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                                                                                    11                               THIRTIETH AFFIRMATIVE DEFENSE

                                                                                    12                                           (FAAAA Preemption)
REED SMITH LLP




                                                                                    13          30.     Defendant alleges, based on information and belief, that the Complaint is barred and

                                                                                    14 preempted, in whole or in part, by the provisions of the Federal Aviation Administration

                                                                                    15 Authorization Act, 49 U.S.C. §§ 14501, et seq.

                                                                                    16                             THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                                                    17                                             (Conflict of Laws)

                                                                                    18          31.     Defendant alleges, based on information and belief, that the Complaint is barred

                                                                                    19 and/or preempted, in whole or in part to the extent that Plaintiff’s claims are predicated under any

                                                                                    20 law or regulation which conflicts with federal regulation of hours of service, transportation, or

                                                                                    21 transportation safety including but not limited to the federal Motor Carrier Act and federal

                                                                                    22 Department of Transportation regulations.

                                                                                    23                            THIRTY-SECOND AFFIRMATIVE DEFENSE

                                                                                    24                                           (FMCSA Preemption)

                                                                                    25          32.     Defendant alleges, based on information and belief, that the Complaint, or parts

                                                                                    26 thereof, is barred by the regulations and decisions promulgated by the Federal Motor Carrier Safety

                                                                                    27 Administration.
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                                                                                                      DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                             THIRTY-THIRD AFFIRMATIVE DEFENSE

                                                                                     2                                           (Federal Preemption)

                                                                                     3          33.     Defendant alleges, based on information and belief, that the Complaint, or parts

                                                                                     4 thereof, is barred by the Commerce Clause and/or Supremacy Clause of the United States

                                                                                     5 Constitution and/or the regulations promulgated by the Federal Motor Carrier Safety Administration.

                                                                                     6                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                                                                                     7                                                (Arbitration)

                                                                                     8          34.     Defendant alleges, based on information and belief, that Plaintiff, the putative class

                                                                                     9 members, and/or allegedly aggrieved employees’ claims, or portions thereof, are barred in whole or

                                                                                    10 in part, because Plaintiff, the putative class or allegedly aggrieved employees, or certain of them, are
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                                                                                    11 contractually bound to arbitrate any grievance and/or dispute pursuant to a mandatory and binding

                                                                                    12 arbitration agreement with Defendant and/or their employer.
REED SMITH LLP




                                                                                    13                             THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                    14                                          (Reservation of Rights)

                                                                                    15          35.      The Complaint is vague, ambiguous, indefinite and uncertain; therefore, Defendant

                                                                                    16 reserves the right to amend or supplement its affirmative defenses asserted herein, and to present

                                                                                    17 evidence supportive of different or additional defenses, upon ascertaining the specific nature of the

                                                                                    18 violations alleged.

                                                                                    19                                       ADDITIONAL DEFENSES

                                                                                    20          Defendant currently has insufficient information upon which to form a belief as to whether it

                                                                                    21 may have additional, as yet unstated, defenses beyond those listed above. Defendant therefore

                                                                                    22 reserves the right to assert additional defenses as appropriate.

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                                                                                                      DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1         WHEREFORE, Defendant requests that this Court dismiss the Complaint with prejudice; that

                                                                                     2 it enter judgment in Defendant’s favor; and that this Court award Defendant its costs and attorneys’

                                                                                     3 fees incurred in defending this action and such other relief as it deems appropriate.

                                                                                     4
                                                                                         Dated:       July 22, 2022                          REED SMITH LLP
                                                                                     5

                                                                                     6                                                 By:
                                                                                                                                             Brittany M. Hernandez
                                                                                     7                                                       Attorneys for Defendants MOTTS LLP,
                                                                                                                                             KEURIG DR PEPPER INC. and
                                                                                     8                                                       DR PEPPER/SEVEN UP INC.
                                                                                     9

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REED SMITH LLP




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                                                                                                    DEFENDANT MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                                                                                     1                                         PROOF OF SERVICE

                                                                                     2 CASE NAME:              JOHN TRUJILLO v. MOTTS LLP, et al.

                                                                                     3 CASE NO.:               22STCV16589

                                                                                     4        I am a resident of the State of California, over the age of eighteen years, and not a party to the
                                                                                       within action. My business address is REED SMITH LLP, 355 S. Grand Avenue, Suite 2900, Los
                                                                                     5 Angeles, CA 90071.

                                                                                     6     On July 22, 2022, I served the following document(s) by the method indicated below:
                                                                                     7 DEFENDANT  MOTTS LLP’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT

                                                                                     8
                                                                                               by placing the document(s) listed above in a sealed envelope with postage thereon fully
                                                                                     9          prepaid, in the United States mail at Los Angeles, California addressed as set forth below. I
                                                                                                am readily familiar with the firm’s practice of collection and processing of correspondence
                                                                                    10          for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that
                                                                                                same day with postage thereon fully prepaid in the ordinary course of business.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11

                                                                                    12   ALAN HARRIS, ESQ.                                      ATTORNEYS FOR PLAINTIFF
                                                                                                                                                JOHN TRUJILLO
REED SMITH LLP




                                                                                         PRIYA MOHAN, ESQ.
                                                                                    13   MIN JI GAL, ESQ.
                                                                                         HARRIS & RUBLE
                                                                                    14   655 N. CENTRAL AVENUE, 17th FLOOR
                                                                                    15   GLENDALE, CA 91203
                                                                                         PHONE:        (323) 962-3777
                                                                                    16   FAX:          (323) 962-3004
                                                                                         EMAIL:        harrisa@harrisandruble.com
                                                                                    17                 pmohan@harrisandruble.com
                                                                                                       mgal@harrisandruble.com
                                                                                    18

                                                                                    19         STATE:
                                                                                               I declare under penalty of perjury under the laws of the State of California that
                                                                                    20         the above is true and correct.
                                                                                    21         Executed on July 22, 2022, at Los Angeles, California.

                                                                                    22

                                                                                    23                                                 BRITTANY M. HERNANDEZ

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                                                                                                                                  PROOF OF SERVICE
